              Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 1 of 71
                                                                                FILED
                                                                                    FEB 26     2019
                        IN THE UNITED STATES DISTRICT COURT
                                                                            CLERK, U.S. DIST9J1rbURT
                         FOR THE WESTERN DISTRICT OF TEXAS                  WESTERN             TEXAS
                                   WACO DIVISION                            BY_______________
                                                                                      'EPUTY CLERK
DR. LAKSIIMI ARUNACHALAM                          §

          Plaint                                  §               CVNo.'uW1°CA171
                                                                           I
V.                                                §               JURY DEMAND
EXXON MOBIL CORPORATION,                          §

          Defendant.                              §



                        COMPLAINT FOR PATENT INFRINGEMENT


                                        I.       THE PARTIES

     1.   Plaintiff, Dr. Lakshmi Arunachalam, ("Dr. Arunachalam"), is an individual that

          maintains her principal place of business at 222 Stanford Avenue, Menlo Park, CA

          94025.

     2. Defendant Exxon Mobil Corporation ("ExxonMobil") is an American multinational oil

          and gas corporation headquartered at 5959 Las Colinas Boulevard, Irving, Texas 7503 9-

          2298 and incorporated in New Jersey.

     3. Defendant Intuit, Inc. does business in Texas and can be served with process through its

          Registered Agent for Service, Corporation Service Company, located at 211 East 7th

          Street, Suite 620, Austin, TX 78701-3218; 251 Little Falls Drive, Wilmington, DE

          19808; and with Registered Office at 830 Bear Tavern Road, West Trenton, New Jersey

          08628-1020.

                                IL     JURISDICTION AJ1) VENUE




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4. This action arises under the patent laws of the United States, Title 35        of the United States
     Code. The Court's jurisdiction over this action is proper under the above statutes,

     including 35   U.S.C. §   271 et seq. and 28 U.S.C. § 1338.

5.   Personal jurisdiction exists over the Defendant because there exists sufficient contact

     with the forum as a result of business conducted within the State of Texas and within this

     district. Personal jurisdiction also exists specifically over the Defendant because of

     Defendant's conduct in making and using infringing products and practices within the

     State of Texas and this district, wherein it has a regular, established place of business.

6. Venue is proper in this Court under 28 U.S.C.      §139(b), (c), and (d), as well as 28 U.S.C.

     §   1400(b).

                                Ill.   PATENT INFRINGEMENT

7. Plaintiff, Dr. Arunachalam, is the inventor and assignee        of all rights, title and interest in

     and under United States Patent No. 7,930,340 ("the '340 patent"), which duly and legally

     issued on April 19, 2011, with Plaintiff Dr. Arunachalam, as the named inventor for a

     Network Transaction Portal.

8. Defendant has been and continues to infringe the      '340 patent by at least making and

     using, without authority, products and practices regarding at least its The Speedpass+TM

     app and other mobile and other Web apps, services, and systems and methods that fall

     within the scope of the claims of the '340 patent, for at least its Exxon Mobil

     Rewards+TM program to earn rewards every time a user uses it to pay for gas, in App

     Store and Google Play, to link the user's preferred method of payment, and pay right

     from the app securely with Securely pay with any major credit card, debit card,

     Masterpass, Apple Pay, Google Pay or Samsung Pay to get gas, earn Rewards, link the




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   user's Exxon Mobil Rewards+TM card in the app to earn points automatically with every

   Synergy gasoline purchase; to automatically earn points with the Exxon Mobil Rewards+

   program, the free rewards program that lets the user use points for savings on gas, car

   washes, snacks and more; allowing the user to start paying with, a new ExxonMobilTM

   Smart Card through the Speedpass+ app, find the nearest Speedpass+ app-enabled

   ExxonTM or MobilTM station, view the transaction history, get bonus savings on fuel

   with in-app promotions, pay with Apple Watch or Ford vehicle with SYNC® 3

   technology, where the Speedpass+ app lets the user use the Apple Watch to pay for

   Synergy gasoline when the user links his device is linked; from the Speedpass+ app, the

   user can select "Pay for Fuel" and choose the pump number, review payment

   information, tap "Authorize Pump" to continue, before lifting the pump nozzle. The

   Speedpass+ app is available in the App Store for iOS 9.-   11   and on Google PlayTM store

   for phones running AndroidTM OS 5.1    -8. Defendant will continue to infringe the '340
   patent unless enjoined by this Court. Plaintiff is without an adequate remedy at law.

9. Defendant's infringement of the '340 patent has been and continues to be willful. Its

   Senior Executive Al Ko was put on notice in 2018, who stated he provided it to its

   General Counsel.

10. Defendant has and is actively inducing and/or contributing to the infringement of the

   '340 patent among itself and by others.

11. This is an exceptional case within the meaning of 35 U.S.C. § 285.

                              IV.    PRAYER FOR RELIEF




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12. Plaintiff respectfully requests this Court to enter judgment against Defendant and against

   Defendant's subsidiaries, affiliates, agents, servants, employees and all persons in active

   concert or participation with Defendant, granting the following relief:

           A.        An award of damages adequate to compensate Plaintiff for the

   infringement that has occurred, based on per Web transaction per Web application

   together with prejudgment interest from the date infringement of the '340 Patent began;

           B. An award to Plaintiff of all remedies available under 35 U.S.C. § 284;

           C. An award to Plaintiff of all remedies available under 35 U.S.C. § 285;

           D.        A preliminary and thereafter a permanent injunction under 35 U.S.C.      §

   283 against Defendant's infringement of the '340 Patent, and, in the alternative, in the

   event injunctive relief is not granted as requested by Plaintiff, an award of a compulsory

   future royalty;

           E.        That the Court award to Plaintiff her costs and attorneys' fees incurred in

   this action; and

           F. Such other and further relief as the Court or a jury deems just and proper.

                             V.     DEMAND FOR JURY TRIAL

13. Plaintiff demands a jury trial on all issues.

14. Exhibit I: U.S. Patent No. 7,930,340 is incorporated by reference herein, as   if fully
   incorporated herein, and is attached herewith.

                                            Respectfully submitted,


   DATED: February 14,2019
                                                     -1_
                                           Dr. Lakshmi Arunachalam
                                                                   -LL
                                           222 Stanford Avenue, Menlo Park, CA 94025
                                           Tel: 650 690 0995; Fax: 650 854 3393
                                           Laks22002@yahoo.com
                                           Pro Se PlaintffPatern Owner
            Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 5 of 71




                                             VERIFICATION

   I, Dr. Lakshmi Arunachalam, Plaintiff in the above entitled action, hereby verify under
   penalty of perjury, under the laws of the United States of America, that the above statement
   of facts and laws is true and correct, according to the best of my current information,
   knowledge, and belief, so help me God, pursuant to 28 U.S.C. 1746(1). See the Supremacy
   Clause in the Constitution for the United States of America, as lawfully amended (hereinafter
   "U. S. Constitution").
Dated: February 14, 2019

Signed:    <-''
Printed: Dr. Lakshmi Arunachalam


    DECLARATION OF DR. LAKSHMI ARUNACHALAM IN SUPPORT OF
         PLAINTIFF'S PATENT INFRINGEMENT COMPLAINT

I, Dr. LAKSHMI ARUNACITALAM, declare:

I am the inventor and assignee   of the patent-in-suit, U.S. Patent No. 7,930,340 ('340). I reside at

222 Stanford Avenue, Menlo Park, CA 94025. I am pro se Plaintiff in the above-captioned

action. I make this declaration based on personal knowledge and, if called upon to do so, could

testify competently thereto.

    1.   Attached as Exhibit 1 is a true and correct copy of Plaintiffs U.S. Patent No. 7,930,340.

I declare under the penalty of perjury under the laws   of the United States and the State of

California and Texas that the foregoing is true and correct. Executed this 1 4th day of February,

2019 in Menlo Park, California.



                                               Dr. Lakshmi Arunachalam
                                               222 Stanford Avenue, Menlo Park, CA 94025
                                               Tel: 650 690 0995; Fax: 650 854 3393
                                               Laks22002yahoo.com




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                               CERTIFICATE OF MAILiNG


I, Dr. Lakshmi Arunachalam, hereby certify that on Februaiy 14,2019,1 sent via Express Mail
via the U.S. Post Office an original and 4 copies of the attached Complaint, Dr. Arunachalam's
Declaration and Verification in support thereof, Exhibit 1, Civil Cover Sheet and 1 copy of Form
A0-440, Summons in a Civil Action, to the Clerk of the Court, United States District Court for
the Western District of Texas, Waco Division at 800 Franklin Avenue, Room 380, Waco, Texas
7670 1 for filing and docketing in this case.

February 14, 2019

                                            !1P1IIlU!fl!!I
                                            /s/Lakshmi Arunachalam/
                                            Signature of Plaintiff
                                            Dr. Lakshmi Arunachalam
                                            222 Stanford Aye, Menlo Park, CA 94025
                                            650 690 0995
                                            Laks22002@yahoo.com

                             Exhibit 1: U.S. Patent No. 7,930340
              Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 7 of 71

                                                                      RI1IIuuIIIRIII                US007930340B2


(12)   United States Patent                                                     (10)   Patent No.:     US 7,930,340 B2
       Arunachalam                                                            (45)     Date of Patent:     Apr. 19, 2011

(54)    NETWORK TRANSACTION PORTAL TO                                             4,984,155 A            1/1991 Geieretai
        CONTROL MULTI-SERVICE PROVIDER                                            S,t25,091 A           6/1992 Staaa,Jr.dat.
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                                                                                  5,159.632 A           10/1992 Crandall
(76) Inventor:       Lakshml Arunachalam. Menlo Park,                             5.231,566 A            7/1993 Blutingeretal.
                     CA(US)                                                       5,239,662 A   *       811993    Danielsonetat ............. 709/246
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(*)     Notice:      Subject to any disclaimer, the term of this                  5,291,249 A            3/1994   Bernateinesal.
                     patent is extended or adjusted under 35                      5,329,589 A            7/1994   Fraser etal.
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(21)    AppI. No.: 09/863,704                                                     5.383,t13 A            1/1995 Kightetal.
                                                                                                           (Continued)
(22) Filed:          May 23, 2001
                                                                                        FOREIGN PATENT DOCUMENTS
(65)                    Prior Publication Data
                                                                           WO             97/18515 Al     5/1997
        US 2003/0069922 Al           Apr. 10, 2003                                                (Continued)
                  Related US Application Data
                                                                                              OTHER PUBLICATIONS
(60)    Continuation-in-part of application No. 09/792,323.
        filed on Feb.23, 2001, now Pat. No. 7,340.506, which               Banks, Michael A., "America Online: A Graphics-based Success"
        is a continuation-in-part of application No.                       Link-Up. Jan/Feb. 1992.
        08/879,958, filed on Jun. 20, 1997, now Pat. No.                                                     (Continued)
        5.987,500. which is a division of application No.
        08/700,726. filed on Aug. 5. 1996, now Pat. No.
        5.778,178.                                                         Primary Examiner
                                                                           (74) A#orne Agen&
                                                                                                 -      Hassan Phillips
                                                                                                        or Firm Lakshmi Arunachalam
(60) Provisional application No. 60/006.634, filed on Nov.
     13, 1995.
                                                                           (57)                          ABSTRACT
(51)    Int.C1.
        (O6F 15/16                                                         The present invention provides a system and method for
                               (2006.01)
                                                                           providing controlled service transactions involving multiple
(52)    US, CI ......... 709/203; 709/202; 709/206; 709/217;               service providers on a service network. A client access device
                                                          709/219          links to the service network via a network entry point and
(58)    FIeld of Classlilcation Search .................. 709/200.         perlbrms the multi-service provider transaction under the
                 709/201, 202, 203, 204, 205, 217, 218, 219;               control of a network transactional application at a hub that
                                                             705/8         holds the transaction captive and includes a router to route to
        See application file for complete search history.                  remote distributed software objects at nodes of the service
                                                                           providers. The software objects include methods that may be
(56)                   References Cited                                    remotely executed under the control of the transactional
                                                                           application at the hub.
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       4.829.372 A       511989 McCalleyetal.
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                                                                                                 'a.","
        Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 8 of 71



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             Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 9 of 71



                                                             US 7,930,340 B2
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 2003/0069922    Al      4/2003   Arunachalam                               2008), Allstate Docket #62.
 2008/0091801    Al      4/2008   Arunachalam                               First Amended Answer. Affirmative Defenses, and Counterclaims to
                                                                            1 Complaint by Allstate Corporation, Allstate Insurance Company,

             FOREIGN RkTENT DOCUMENTS                                       Allstate Life Insurance Company, Allstate Financial Services LLC,
WO              00/63781 Al 10/2000                                         Allstate Financial LL,C. (nms) (nms). (Entered: Jan. 14, 2009),
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                                                                            WebXchange Inc..(Heaney, Julia) (Entered: Feb. 2, 2009), Allstate
Hickey; "Shopping at Home: One Modem Line, No Waiting," Home                Docket #96.
PC, Dec. 1, 1994, p. 307, Dialog, File 647, Acc# 01038162.                  Motion to Bifurcate and for Early Trial on the Issue of Inequitable
Lang. "Caaliingh: The Rush isonto Buy andSell ontheinternetBut              Conducttiled by FedEx Corporation, FedEx Kinko's Office &
Conflicting Schemes Leave Marketers on Sidelines for Now," Adver-           Print Services, Inc., FedEx Corporate Services Inc.. (Gaza, Anne)
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                                                                            7.1.1 Statement re 107 Motion to Bifurcate and forEarlyTrial on the
sion 2, Preface, ChapterS. Venlana Press, 1992.
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'Defendant Webxchangeinc.'S Motionto DismissMicrosoft'sCom-                  Issue of ineouitable Conduct i/I Certificate of Service I, the under-
plaint With Prudice for Lack of Subject-Matter Jurisdiction, and for         signed, hereby certify that on May 13,2009,1 electronically filed the
 Attorneys' Fees (entered Aug. 26, 2009) Microsoft Docket #009.              foregoing with the Clerkof the Courtusing CM/ECF, which will send
'Microsoft's Opposition to WebXchange. Inc.'s Motion to Dismiss              notification ofsuch filing(s) to the following: /1/ Certificate ofService
 Microsoft's Complaint (dated Sep. 14, 2009)Microsoft Docket #0 12.          I, the undersigned, hereby certify that on May 13, 2009,1 electroni-
 Order Dismissing Microsoft (Oct. 30,2009) Judge Alsup Microsoft             cally filed the foregoing.
 Docket #017.                                                                "Declaration of Eric 3. Stieglitz in Support OfplaintiffWebXchange
 Memorandum Opinion Microsoft (Oct. 30, 2009) Judge Farnan                   inc.'s Answering Brief inOppositionto Defendants' Motion to Bifur-
 Microsoft Docket #018.                                                      cate, and for Early Trial on,the Issue of Inequitable Conduct II
 Complaint filed with Jury Demand against Allstate Corporation,              RedactedPublic Version / signed Apr. 27, 2009Certificate of
 Allstate Insurance Company, Allstate 1,ife Insurance Company;               Servicel, the undersigned, hereby certify that on May 13, 2009, I
 Allstate Financial Services LLC, Allstate Financial LLC- . ( Filing         electronically filed the foregoing with the Clerk of the Court using
 fee $ 350, receipt No. 03li0000000000419775.)--filed by                     CM/ECF, which will send notification of such filing(s) to the follow-
 WebXchange Inc.. (Attachments: 4 1 Exhibit A, 4 2 Exhibit B, # 3            ing: (Two Parts)", Allstate Docket #132.

 Exhibit C. 4 4 Civil Cover SheetXlid) (Entered: Mar. 5, 2008),              Case l:08-cv-OOl3l-JJF Document 142 Filed Jun. I, 2009 p. 1 of
 Allstate Docket #1.                                                          19// Reply Brief in Support of Defendants' Motion to Bifurcate. and
 Answer to 1 Complaint, with Jury Demand, Counterclaim against                11011 F.arly Trial on, the Issue of inequitable Conduct I/I Redacted
 WebXchange Inc. by Allstate Corporation, Allstate Insurance Com-            Public Version/// Certificate of Service Ihereby certit' that on Jun. 1.
 pany, Allstate Life Insurance Company, Allstate Financial Services          2009, 1 caused to be served by electronic mail the foregoing docu-
 LLC. Allstate Financial LLC. (McGeever. Elizabeth) (Entered: Apr.           meat and electronically filed the same with the Cleric of Court using
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Toamend Answer, Aflurmative Defenses, and Counterclaims /1 Case        a Second Amended Answer); Jury Trial Demanded (entered Jul. 23,
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Complaint filed with Jury Demand against Dell Inc.. (Filing fee $      Leave to Amend Answer (entered Aug. 11,2009) Dell Docket #136.
350, receipt No. 031 10000000000419782)filed by WebXchange             Declaration of Charlotte Pontillo in Support of WebXchange Inc.'s
Inc.. (Attachments: # I Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #4    Answering Brief in Opposition to Dell's Second Motion for Leave to
Civil Cover ShcetXlid) (Entered: Mar. 5, 2008), Dell Docket #1.        Amend Its Answer; (entered Aug. 12, 2009) Dell Docket #137.
Answer to 1 Complaint with Jury Demand, Counterclaim IDell Inc.'s      Defendant Dell Inc.'s Reply Brief in Support of Its Motion for Leave
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Support of Their Proposed Claim Constructions] filed by Dell Inc..     Answer to I Complaint with Jury DemanL COUNTERCLAIM
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Motion, #2 Text of Proposed Order, #3 Exhibit A (First Amended         Corportation, FedEx Kinko's Office & Print Services Inc., FedEx
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Motion to Bifurcate and for Early Trial on, the Issue of Inequitable    Amend/Correct 13 Answerto Complaint, Counterclaim; Requesting
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HTMLWikipedia, the free encyclopediaNotepad (1998)                    table Conduct, on Mar, 19, 2009, Dismissal with Prejudice, order
WBX258.                                                               dated Dec. 30,2009, Denied as Moot, C.A. No.08-132 (JJF) and CA.
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WWW", Network Working Group, CERN, Jun. 1994 WBX259.                  Bifurcate and for early trial on the Issue of Inequitable Conduct, on
Object Broker Service Middleware Sourcebook (1995) WBX26O.
                                                                      Mar. 19,2009, Dismissal with Prejudice, order dated Dec. 30,2009,
Inter Parte Re-F.xamination U.S. App!. No. 95/001,129 (2008)          Denied as Moot. C.A. No.08-132 (JJF) and CA. No. 08-133 (JJF),
W8X261.                                                               Dell Docket #155.
6,2 12.556Re-examfilehisto,yU.S. Appl. No. 90/010,417, filed2009
                                                                      Plaintiff WebXchange Inc.'s Surreply in Opposition to Defendants'
WBX262.                                                               Motion to Bifurcate, and for Early Trial on, the Issue of Inequitable
U.S. App!. No. 11/980,185 prosecution hIstoiy filed 2008, prosecu-
                                                                      Conduct (CA. No. 08-132 (JJF) and C.A. No. 08-133 (JJF) , is
tion history as of Mar. 12, 2009 WBX263.
                                                                      Granted Plaintiffis Surreply in Opposition to Defendant's Motion to
WebX Opening Brief District of Delaware Mar. 23,2009 WBX264.
                                                                      Bifurcate and for F.arly Trail on, The Issue on Inequitable Conduct is
U.S. Patent 5,778,178 Re_Examination of 900 10346_178 prosecu-        deemed filed (Entered Dec.30, 2009), DelI Docket /1 157.
tion history through Aug. 20, 2009 WBX267.                            Dell Inc.'s Second Amended Answer and Counterclaims to
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Kramer. Douglas Java Whitepaper May 1996, WBX500.                     (Entered: Jan. 20, 2010), Del! Docket #164.
09863704 Copy ofResponse to Non-Final Office Action Jun. 6.2006,
                                                                      Plaintiff WebxChange Inc.'Surreply in Opposition to Defendants'
WBXS0I.                                                               Motion to Bifurcate, and for Early Trial on, The Issue of Inequitable
09863704 Copy of Response to Non-Final 001cc Action Jul. 23,          Conduct (Entered Dec. 30,2009), Fedex Docket #212.
2008 and Examiner Interview Summaries dated Jul. 2,2008 and Jul.      Memorandum Opinion C.A. 08-133-JJE and CA. 08-l32-JFF
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                                                                      (Entered Dec. 30,2009), Fedex Docket #215.
09863704 Copy of Response to Non-Final Office Action Aug 21,
                                                                      Defendant's Fedex Corporation, Fedex Kinko's Office & Print Ser-
2007, WBXSO3.                                                         vices, Inc., and Fedex Corporate Services, Inc.'s Second Amended
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                                                                      Answer, Affirmative Defenses, and Counterclaims to Plaintiff
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09863704 Copy of the Final Office Action Oct. 31,2007, WBXS07.        * cited   by examiner
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     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 21 of 71



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      Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 22 of 71




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Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 23 of 71




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     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 24 of 71



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         APPLICATIONS                                  J




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                                                                Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 25 of 71
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                                 WEB SERVER
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                                123.123.123.123




     OBJECT1
                                                              123.123.123.123.3
  123.123.123.123.1




                                      OBJECT 2
                                123.123.123.123.2




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                                        OSI   MODEL




                          APPLICATION

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                           FIG1 r
     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 29 of 71



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         DISTRIBUTED OBJECT MODEL
                                                          META
                                          W71)       COMPILER
    CLASS ABSTRACTION /STUB & SKELETON

  EXCEPTION HANDLING /ThREAD RENDEZVC)US

         CONNECTION MANAGEMENT


        MARSHALLING /SERIALIZATION


      LINE   PROTOCOL (OlD-VALUE PAiRS)

             TRANSPORT LAYER (ICR)




                             FIG. 16
     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 32 of 71



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              FIG.     fl
Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 33 of 71




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     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 34 of 71



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Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 35 of 71




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                                                         FIG.
     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 36 of 71



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                                                              jEBUG:INT
                                                              _G1.OBAL_DEBUG:INT
                                                              DOUT:INT


                                                              WXIaRWC1.ASSZD
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                                                      OUMPI :VOID
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     FIG
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     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 37 of 71



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              REF:VOID
              UNREF:VOID




                                             VALUE:VOID




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MAIN
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                                FIG. 2
     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 41 of 71



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                             FIG.          2b
     Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 42 of 71



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     BEGINCLASS COREBUSINESSOBJECT
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     ENDDATA


     BEGINMETHOD
     INCLUDE HSKEL
     PRIVATE:
     # USED BY THE FINITE STATE MACHINE

     VIRTUAL VOID FSMJNITØ {)
     VOID FSM_ACTION_TIMEOUT(GONST CHAR* TIMES/AL);
     VOID FSM_AC1IONJHROW(CONST CHARS MESSAGE);
     VOID FSM_ACTION_RETURN(CONST CHAR* RESULT);
     VOID FSI&.ACTION_SEND(CONST CHAR VALUE);
     PUBLIC:
     ENDINLUDE


     It TO CONIFIGURE THE FSM
     METHOD       VOiD FSMJ.OADJ)OLSIB {STRING FILENAME)
     It TO TRIGGER AN EVENT IN THE FSM
     METHOD       VOID FSM.EVENT        {STRJNG NAME) (STRING VALUE)

     METHOD       STRING FSt&RESULT
     It TO SET/GET VARIABLES FROM FSM
     METHOD      VOID FSM_SET_SIBING (STRING NAME) {STRING VALUE}
     METHOD CONST STRING FSM_GET..STRING (STRING NAME)
     METHOD      VOiD FSM_SET_INTEGER (STRING NAME) {INT VALUE)
     METHOD CONST 1NT FSM.GETJNTEGER (STRING NAME)
     ENDMETHOD


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  SEND("BALANCE:QUERY'),                                   C,)
EXPECTED_VALUE("AMOUNT")



                                                  FIG.3
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                                     TIMEOUT!                      EXPECTED_VALUE(AMOUNV),
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                                    TIMEOUT/
                                         EXPECTED_VAUE)




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                         EXPECTED_VALUE!
               THROW(NBAD STATUSU.. RECEIVE)                               VALUE!


             METHOD   = BALANCE/
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            SEND(ACCOUNT_NUMBER),                                                            rj
                  SEND(EID),
              EXPECTED_VALUE(0)

                                                            FIG.   30
                                                                                                  Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 45 of 71
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Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 48 of 71




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                                                              Figure
            Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 49 of 71



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                                                                                                    2
      NETWORK TRANSACTION PORTAL TO                                 or the web and are not available to other entities connected to
      CONTROL MULTI-SERVICE PROVIDER                                the Internet. Typically, the car dealer 150 alone may access
              TRANSACTIONS                                          the applications 175 and the data 180, and typically this is via
                                                                    a complicated and customized procedure. The actual puT-
   This application is a continuation mpart ofapplication Ser. S chase is deferred until the email is received, read by a person
No.09/792.323 flIed Feb. 23, 2001.now U.S. Pat. No. 7,340,          or system, and purchase processing is performed by a person
506. which was a continuation-in-partof application Ser. No.        or the applications 175 and data 180. Thus, the purchase is not
08/879.958 filed Jun. 20, 1997, now    U.S. Pat. No. 5,987.500      performed in real-time and involves only the car dealer 150.
which was a divisional of application Set. No. 08/700,726              The user 105 may also select a bank hyperlink 165 embed-
filed Aug. 5, 1996. now U.S. Pat. No. 5,778,178 which was 10 dad in web page 160. The bank hyperlink 165 causes the web
related to and claimed priority from U.S. provisional patent        browser 110 to connect to bank web server 192 presenting
application No. 60/006,634 filed Nov. 13. 1995. This appli-         bank web page 194 via hyperlink address 165. This may allow
cation is related to and claims priority from U.S. provisional      the user 105 to browse bank web page 192 to obtain informa-
patent application No. 60/206,422 filed May 23,2000, appli-         tion about obtaining a loan, however, the association between
cation Ser. Nos. 09/792,323;08/879,958;           08/700,726;    is the  car dealer 150 and the bank 190 is a limited one involving
60/006,634; and 60/206,422 are hereby incorporated by ref-          the car dealer 150 only providing easy access to bank infor-
erence. US. Pat. Nos. 5.987,500; 5,778,178, 7,340,506 and           mation via the bank hyperlink 165. Unfortunately, there is no
sisterU.S. Pat. No. 6,212,556 are also hereby incorporatedby        cooperation or interaction between the car dealer 150 and the
reference.                                                          bank 190 besides the liyperlink 165. In fact,thehyperlink 165
                                                                 20 disconnects the user from car dealer web server 155 and web

                     COPYRIGHT NOTICE                               page 160 and connects the user with bank web server 192 and
                                                                    bank web page 194. This lack of cooperation, control, and
   Contained herein is material that is subject to copyright        interaction greatly limits the services that may be provided by
protection. The copyright owner has no objection to the fac-        the web.
simile reproduction of the patent disclosure by any person as 25       FIG. 2 conceptually illustrates a user 205 and a bank web
it appears in the Patent and Trademark Office patent flies or       server 250 interacting dynamically through the use of Com-
records, but otherwise reserves all rights to the copyright         mon Gateway Interface (CGT) applications. The user 205
whatsoever.                                                         accesses the bank web server 250 via a web browser 210 to
                                                                    attempt to obtain information on a checking account and a
           BACKGROUND OF THE INVENTION                           30 loan account. The bank web server 250 includes a COT inter-
                                                                    face 252 to a checking application 254 and a CGI interface
    1. Field of the Invention                                        256 to a loan application 258 that interact with checking data
    The invention relates generally to performing transactions       272 and loan data, respectively, in a database 270. CGI allows
on a network. More particularly, the invention relates to a         the bank web server 250 to transfer data to the checking
system and method for controlling a transaction involving 35 application 254 and the loan application 258 that can then
multiple service providers.                                         perform processing on the data. By way of example. the user
    2. Background Information                                       205 may enter a checking account identificationnumber in an
    The Internet and the World Wide Web, hereinafter referred        HTML form provided by the bank web server 250, and the
to as the web, provide a viable medium for electronic com-           server 250 may communicate the checking account identifi-
merce and on-line services, however current systems and 40 cation number Co checking application 254 that uses CGI to
methods for using the Internet and the Web are extremely             look up the user checking account in the database 270 and
 limited. In particular current uses are limited to either           format the checking account data 272 as an HTML page that
browse-only interactions or simple "deferred" purchases              may be presented to the user 205.
 involvinga single service provider.                                    However, the COT interaction is severely limited because
    FIG. 1 conceptually illustrates a prior art use 100 of the 45 each CGI application must be customized fora particular type
 Internet and the web. A user 105 accesses a car dealer web          of application or service. That is, different CG1 application
 server 155 associated with a car dealer ISO over the Internet       would have to be created for each service provided by the
 130 via a web browser 110. Web browser 110 is software that         bank. For this reason, creating and managing individual CGI
 runs on a computer system and provides a simple user inter-         scripts for each service is not a viable solution for merchants
 face to allow access to web servers via the web. In particular, so with a large number of services.
 the user 105 may input a uniform resource locator (URL),               As the Web expands and electronic commerce becomes
 such as http://www.cars.com, which the web browser 110              more desirable, the need increases for robust, real-time, bi-
 conununicates to the Internet 130 and which corresponds to          directional transactional capabilities on the Web. A true real-
 an IP address 120 that uniquely locates the car dealer web          time, bi-directional transaction would allow a user to connect
 server 155 and a web page 160. The user 105 may view the 55 to a variety of services on the web, and perform real-time
 web page 160 and then leave, which amounts to a simple              transactions on those services. For example, although user
 browse-only interaction.                                            100 can browse car dealer Web page 105 today, the user
    Alternatively, the user 105 may make a limited, deferred         cannot purchase the car, negotiate a car loan or perform other
 purchase of a car from the car dealer 150 and involving only        types of real-time, two-way transactions that he can perform
 the car dealer 150. For example, the user 105 may fill out a 60 with a live salesperson at the car dealership.
 form on car dealer web page 160 and email the form to car              Ideally, user 100 in FIG. IA would be able to access car
 dealer web server155. After receiving the form, the car dealer      dealer Web page 105, select specific transactions that he
 web server 155 may perform some processing of the form,             desires to perform, such as purchase a car, and perform the
 and then send it through a gateway 170 towards applications         purchase in real-time, with two-way interaction capabilities.
 175 that perform Iirrther purchase processing and read and 65 CGI applications provide user 100 with a limited ability for
 write data 180 such as to a legacy database. The applications       two-way interaction with car dealer Web page 105. but due to
 175 and the data 180 are not directly connected to the internet     the lack of interaction and management between the car
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dealer and the bank, he will not be able to obtain a loan and            FIG. 16 conceptually illustrates software layers of an
complete the purchase of the car via a CGI application. The           object muter, according to one embodiment.
ability to complete robust real-time, two-way transactions is            FIG. 17 conceptually illustrates data model integration for
thus not truly available on the web today.                            an object router of one embodiment.
   In order to provide sophisticated and useful services over    5       FIG. 18 conceptually illustrates a single bank service trans-
the web. it is desirable to control and manage cooperation and        action, according to one embodiment.
interaction among a plurality of service providers that each             FIG. 19 conceptually illustrates a multi-service provider
contribute to the transaction. This goal is constrained by the        transaction, according to one embodiment.
prior art systems and methods forusing the Internet, which do            FIG. 20 conceptually illustrates an exemplary architecture
not control or manage multi-service provider transactions and
                                                                 10   for a bank transaction, according to one embodiment.
which do not permit sophisticated and useful joint service               FIGS. 21-22 conceptually illustrate an exemplary class
                                                                      diagram showing object classes to implement one embodi-
offerings.
                                                                      ment.
                                                                         FIG. 23 conceptually illustrates a timing diagram for a
        BRIEF DESCRIPTION OF THE SEVERAL
                                                                 15   muter, according to one embodiment.
             VIEWS OF THE DRAWINGS
                                                                         FIG. 24 conceptually illustrates a Finite State Machine
                                                                      (FSM), according to one embodiment.
   The novel features believed characteristic of the invention
                                                                         FIG. 25 conceptually illustrates an Extended Finite State
are set forth in the appended claims. The present invention is        Machine (EFSM) counter, according to one embodiment.
illustrated by way ofexainple, and not byway of limitation, in 20        FIG. 26 conceptually illustrates code processing, accord-
the figures of the accompanying drawings and in which like            ing to one embodiment.
reference numerals refer to similar elements. The invention              FIG. 27 conceptually illustrates code of a Coreflusines-
itself, however, as well as a preferred modeofuse, will best be       sObject. according to one embodiment.
understood by reference to the following detailed description            FIG. 28 conceptually illustrates an exemplary Distributed
of an illustrative embodiment when read in conjunction with 25        Online Service Information Base (DOLSIB) FSM diagram
the accompanying drawings:                                            for a bank, according to one embodiment,
   FIG. I conceptually illustratesprior art uses ofthe Internet.         FIG. 29 conceptually illustrates a diagram with expect.
   FIG. 2 conceptually illustrates prior art uses of CGI appli-       found, and error states.
cations to provide a dynamic interaction between a user and a            FIG. 30 conceptually illustrates an exemplary Distributed
web server.                                                      3°   Online Service Information Base (DOLS1B) FSM diagram
   FIG. 3 conceptually illustrates a system that includes ser-        for another bank, according to one embodiment.
vice network processing to allow a transaction involving mul-            FIG. 31 conceptually illustrates operation of a hub and
tiple service providers, according to one embodiment of the           node service control system, according to one embodiment.
invention.                                                               FIG. 32 conceptually illustrates an architecture, according
   FIG. 4 conceptually illustrates relationships between corn- 35     to one embodiment. to manage a hub and node system.
ponents of a service network system according to one                     FIG 33 is a block diagram of a computer system upon
embodiment,                                                           which one embodiment may be implemented.
   FIG. 5 conceptually illustrates a service network that
allows controlled, sophisticated, interactive, "any-to-any",              DETAILED I)ESCRIPTION OF THE INVENTION
real-time, services to be provided by multiple service provid- 40
ers, according to one embodiment.                                        A method and apparatus are described for performing
    FIG. 6 conceptually illustrates a hub-controlled service          transactions involving multiple service providers over a ser-
network 600, according to one embodiment.                             vice network. Broadly stated, embodiments of the present
    F1G. 7 conceptually illustrates a service network system          invention seek to maintain control overthe transaction includ-
showing a hub creating controlled links to multiple nodes, 45         ing controllably and selectively routing to and involving ser-
according to one embodiment.                                          vice providers in the transaction. According to one embodi-
    FIG. 8 conceptually illustrates a service network system          nient, this may include a network transactional application
with an application environment that is connected to the ser-         including control and muting software objects and distributed
vice network.                                                         remote software objects to interface with the network trans-
    FIG. 9 conceptually illustrates in block diagram form a so        actional application and perform controlled transactions.
method. according to one embodiment, to perform a transac-            Advantageously, this may allow sophisticated, real-time,
tion on a service network.                                            multi-service provider transactions to be performed while
    FIG. 10 conceptually illustrates components of a service          allowing one entity (e.g., a context owner) to control the
network, according to one embodiment.                                 transaction.
    FIG. 11 conceptually illustrates a hierarchical branching 55         In the following description, for the purpose of explana-
convention to provide network addresses for networked                 tion, numerous specific details are set forth inorder to provide
objects, according to one embodiment.                                 a thorough understanding of the present invention. It will be
    FIG. 12 conceptually illustrates a hub-controlled service         apparent. however, to one skilled in the art that the present
network providing verified services, according to one                 invention may be practiced without some of these specific
embodiment.                                                      60   details. In other instances, well-known structures and devices
    FIG. 13 conceptually illustrates the Open System Intercon-        are shown in block diagram form.
nection (OSI) reference model.                                           FIG. 3 conceptually illustrates a system 300, according to
    FIG. 14 conceptually illustrates a layered architecture of a      one embodiment, that includes service network processing
transactional network application having a value-added net-           that allows a controlled transaction involving a plurality of
work (VAN) switch, according to one embodiment.                  65   networked service providers to be performed. A client access
    FIG. 15 conceptually illustrates the potentially distributed      device 310 connects to, accesses, or otherwise communicates
nature of a VAN switch, according to one embodiment.                  with a facilities network 320 that contains service network
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 processing 350. The term "client access device" will be used            monitoring client activity and service provider activity (e.g.,
to broadly refer toa device to access the facilities network and         to support accounting and billing policies of the service net-
 may be a computer system, a computer system with a web                  work), collecting statistics, security processing, address pro-
 browser, a personal digital assistant, a mobile end point, a            cessing to uniquely address and identify network locations
 cellular device (e.g., a cell phone), a screen phone, a pager, a   5    and objects by a unique network address, routing processing
 home appliance (e.g., a TV, VCR, etc.), a remote control                 to uniquely identify, retrieve, and mute dynamically changing
 device to a TV orVCR, anAl'M machine, a cash register, and              information and software objects using multi-media, object
 other devices.                                                          muting, and others. According to one embodiment, manage-
   The client access device 310 may access the facilities net-           merit includes distributed control of Events, Configuration.
 work and the service network via server"switching" sites or        to   Accounting, Performance, and Security (ECAPS). By way of
 corresponding appropriate non-web switching sites such as               example, events may include responding to specific occur-
 cellular provider sites. For example, a cell phone may access           rences on the network, configuration may include managing
a cell site where resides a computer system having an IP                 the connections that exist within thenetwork, accounting may
address and a functional connection to a hub either on that              include measuring and recording network transaction activi-
computer system or on a connected computer system.                  15   ties, performance may include monitoring and maintaining
   The facilities network may be any suitable facilities net-            network performance standards, and security may include
 work or combination of potentially heterogeneous facilities             enabling connection and transaction privacy.
networks, including an IP-based network, a TCP/IP-based                      The service network processing 350 may support industry-
network, the Internet, the web, a non-web network, an email              standard web browsers (e.g., Internet Explorer available from
network Integrated Services Digital Network (ISDN),Asyn-            20   Microsoft Corporation of Redmond Wash.), web servers,
chronous Transfer Mode (ATM), Personal Communications                    security protocols, and connect to applications and middle-
Services (PCS), X.25, Ethernet, frame relay, token ring, Fiber           ware, including both legacy and relational database manage-
 Distributed Data Interlace (FDDI), Community Antenna TV                 ment systems (RDRMSs). In an embodiment where the ser-
 (CATV), an intelligent network, a public-switched network, a            vice network 350 operates over the Internet, the service
public-switched telephone network, a plain old telephone            25   network 350 may comply with open Internet standards and
system (POTS) network, a private switched network, a wire-               protocols.
less network, acellularnetwork, private/leased lines, an intra-              According to various embodiments, the network process-
net, a private enterprise network, or another network suitable           ing 350 may be distributed between a hub and a plurality of
 for supporting a service network such as those described in             nodes each associated with a service provider. The term "hub"
the present specification. For example, the client access           30   will broadly be used to refer to one or more functionally
device 310 may connect to the facilities network via a wire,             coupled computer systems (e.g., a web server server) that
cable, cellular, or PCS connection, service provider 1 360               provide software and methods to control a transaction or
may connect via aTI connection service provider N 380 may                service involving multiple service providers. The hub may be
connect via a T3 connection, and service provider N 380 may              considered as a portal or gateway into the service networkthat
additionally have anATM/Sonet or Frame Relay/T3 connec-             35   provides selective and controlled access into the service net-
lion to a branch office to perform processing.                           work to computer systems and methods associated with ser-
   The service network processing 350 is functionally inter-             vice providers of the network. The term "node" will broadly
posed between the client access device 310 and multiple                  be used to refer to one or more functionally coupled computer
service providers and associated software that provides ser-             systems that provide service methods under the control of the
vices to the client access device 310. According to one             40   hub. Thus, the service network 350 may extend to software.
embodiment, the service network processing 350 provides a                objects, and methods at the service providers 360, 370. and
network transactional application that provides an overlay               380. as will be explained in more detail elsewhere. According
service network that operates on and runs on the facilities              to one embodiment, links from the client access device310 to
network320. Theuetworktransactional applicationmay pro-                  such software, objects. and methods is via the hub.
vide the service network according to an N-tier manager-            45      According to certain embodiments the hub includes a
agent model that achieves N-way communication by using a                 router to route to and establish links to software objects at
value-added network (VAN) switch or object router that                   nodes. The term "muter" will broadly be used to refer to
resides at the transaction network entry point to route to               software to create or allow a link to potentially remote and
software residing at remote service provider nodes. The net-             geographically distributed software. In one embodiment, the
work application may use an N-way interactive object router          o   router is an object router that uses objects and class informa-
to provide the link between the clients and the service pro-             lion rather than unrelated functions and data. For example, in
viders. The service network may provide access to a myriad               one specific embodiment, the object router provides two
of network services such as selling of products (e.g., books)            types of a class, namely a skeleton that is the functionality of
and services (e.g., shipping, pizzas delivery), banking, trad-           the object and its stub that allows remote access to the same
ing (e.g., stocks), advertising, customer service, bill manage-     55   object. Typically the stub is located on one computer system.
ment, and others.                                                        such as a client computer system or a hub computer system
   The service network processing 350 may include transac-               and the skeleton is located on a different remote and geo-
tional control and management software to control and man-               graphically distributed computer system associated with a
age one or more transactions involving the client access                 service provider, a user to specify functions to be executed
device 310 and any number of service providers that are             60   remotely. According to one embodiment, the object muter is
desired for the particular transaction. Control and manage-              part of a value-added network transactional application and
ment may include establishing a connection or link (e.g., a              resides at the network entry point (e.g., the hub) to provide an
line, channel, or thread over which data may be communi-                 N-way interactive link to other software that resides at remote
cated) to service providers, making requests, activating or              and geographically distributed IP nodes. Specific exemplary
configuring transactional applications, receiving results, de-      65   embodiments of hubs, nodes, routers, object routers, and
establishing connections with service providers, fault-han-              objects will be discussed elsewhere, although other embodi-
dling, monitoring performance, monitoring transactions,                  ments are contemplated.
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   The term "service provider"wiH be broadly usedto referto             The service network 435 may selectively and conimliably
a network-connected entity or presence. such as a business,         manage the connection to and use of service pmvider hard-
merchant, organization, administration networked user or            ware and softw.re 440 which may be by direct connection
other provider that pmvides or participates in a service asso-      450 or by indirect connection 460 with the service network
dated with the service network. Typically, the service pro-         435 As shown, applications 451, middleware 452, 46L
viderparticipates injoint services involving multiple service       applications 453, operating systems 454, and hardware 455
providers. The multiple service providers may include a ser-        may be dimctly connected to the service network 450. Typi-
vice pmvider 1 360 a seivice provider N 380 andoptionally                   dti 462 (e g enterprise data) host TP applications
any numberofadditional servicepmviders 370 &ccordingly                    andotherbardware466 (e g printers faxes etc )will be
the total of service pmviders may be any integer number of 10 mdirectiv         connected to the service network 460, such as via
                 ,        .                  .

                                                                              :   .              .
    .        .                .         .

service pmviders. The service providers 360. 380 may be any         the applications 451. or middlewai 452.
                                                                         .   .               .

    .                                                                   FIG. 5 conceptually illustrates a service network 500 that
service providers suitable for the intended service netork,
             .        .             .             .




                                                                    allows ontmlled sophisticated, interactive any to any
including merchants and businesses that desire to provide
                                                                       al time services to be provided by multiple service provid
their products and/or services to a client associated with the 15 ers A client access device
                                                                                                    510 connects with the service
chent access device 310 For exunple the service providers           network and then receives a service involving cooperation
may be businesses that provide web servers, web pages, trans-       between a service provider #1520, a service provider #2530,
actional applications to sell products or services, and data to     and optionally any desired number of additional service pm-
facilitate the transaction The multiple service providers may       vid.ers 540 The client acces' device 510 may bi-directionally
also include other client access devices similar to client 20 communicate and interact with the service provider #1520 by
access device 310. For example. client access device 310 may        link 550. Likewise, the access device 510 may interact with
obtain services that involve other client access devices, such      the service provider #2 via link 555. As shown by link 560, the
as in a service network incorporating features similar to those     service provider f/i and service provider #2 may also interact
in an interactive chat or messaging, an online bartering, an        directly, rather than via the client access device 510. Links
online file-sharing, or other services. The service providers 25 565,570, 575 may also be provided when one or more other
are to be interpreted broadly in the present application and        service providers 540 are desired.
many exemplary service providers will be discussed in the               Without loss of generality to other services and transac-
specification, although others are contemplated.                    tions. and to illustrate the advantages provided by the service
   FIG. 4 conceptually illustrates a system 400, according to       network, consider an exemplary multi-provider service
one embodiment, to provide services via a service network. A 30 involving a client access device 510 purchasing a car from car
client 405 uses a client access device 410 such as a web            dealer presence 520 by obtaining a loan for the amount of the
browser 411, a cell phone 412, a television 413 (e.g.. web-         car from bank presence 530 and insurance for the car from
enabled television, and others), or another client access           insurance provider 540. The client access device 510 fIrst
device 414, such as a kiosk or an ATM machine, to access a          determines the amount of the car from car dealer presence 520
facilities network 420. The facilities network may include a 35 and indicates a desire to purchase the car for the amount by
carrier network 422 such as one or more of a telco, wireless,       obtaining a loan from bank presence 530,
CATM or other carrier network. This may include cables,                 Then, the service network automatically establishes a con-
radio frequency, satellite, fiber optic, and other links. Alter-    trolled link 560 with bank presence 530. Advantageously, this
natively, a client or user may walk-in 424 to client access         may be done without losing connection to and communica-
devices such as the kiosk or ATM machine, which may be at 'to tion with car dealer presence 520. Then, bank presence 530
a bank, a store, a mall, or another public place. In the case of    establishes a controlled link 555 with access device 510 to
a web browser access device, connecting to the facilities           obtain data to process the loan. After bank presence 530
network may include connecting to an Internet service pro-          approves the loan it may verify the loan to the client via
vider 426 to obtain access to a web server 428 offering a web       controlled link 555 and to the car dealer presence 520 via
page. In the case ofa cell phone access device 412, connecting 45 controlled link 560.
to the facilities network may include a dial-up connection              The car dealer presence 520 may then connect with an
430. In the case of a television access device 413, accessing       insurance provider 540 via controlled link 565 to advertise an
the network may include using buttons on the television or on       insurance policy to client access device 510 via controlled
a remote control along with optional list or menu options to        link 575 and receive an acceptanceof the policy via controlled
connect to the facilities network 432. In the case of a kiosk or So link 575. The insurance provider 540 after processing the
ATM device, a client or user may interact with the kiosk or         insurance policy may provide verification to the client via
ATM device, that may either connect to the facilities network       controlled link 575 and to the car dealer presence via con-
or already be connected to the facilities network.                  trolled link 565. The car dealer presence 520 may then send a
   After accessing the facilities network, the client access        complete transaction verification and summary to the client
device 410 may access or utilize the service network 435. 55 access device 510 via controlled link 550 to finalize the par-
This may be done in a way compatible with the client access         ticular transaction.
device 410 and the service network 435. For example, a web             As discussed, the transaction involves interactions
browser access device 411 may request to access the service         between the client access device 510 and multiple service
network to obtain one or more services by communicating a           providers 520, 530, 540 under the control of the service
request to connect to a web server and web page based on data so network. Advantageously, this allows collaborative and coop-
input into a computer system by a client or user. Alternatively,    erative transactions and interactions that are not possible in
a cell phone access device 412 may access the service net-          prior art approaches. In this way, transactions are not limited
work by entering a phone number associated with the service         to two-way transactions involving a client access device and
network 435 into the cell phone access device 412, which            a single service provider, but are flexible to include three-way.
automatically connects to the facilities network 420 and the 65 four-way. or N-way transactions and interactions involving
service network 435. which may be a call center providing           any desired number of service providers and the client access
interactive voice response (IVR).                                   device, According to one aspect of the present invention.
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pidetermined strategies involving collaboration and coop-                 a service agent and management station for the service pro-
eration among service providers may be devised to incorpo-                vider. It may also provide a channel interface to back-office
rate N service providers, where N is any desired integer                  transaction processing applications.
number of service providers that have agreed to collaborate                  According to one embodiment, the hub 630 and the nodes
and cooperate to provide the services. Thus, according to one        5    640 contain sofiware to control and manage a plurality of
embodiment, the service network may allow forservicetrans-                distributed service and application software objects or corn-
actions involving "any-to-any" communication and interac-                 ponents. The term objects" will be used to refer to separable
tion, thus facilitating a large. flexible variety of robust, real-        software objects capable of being distributed over a network
time transactions on the network.                                         and operated remotely. The objects may be object-oriented
   FIG. 6 shows a hub-confrolled service network 600.                io   software objects based on object class. They may be objects
according to one embodiment. A client access device 610                   conforming to standards and models, such as the Component
accessesa service networkvia a network entry point 620. The               Object Model (COM), Object Linking and Embedding
network entiy point 620 will typically corraspond to and be               (OLE), ActiveX, Distributed COM (DCOM), System Object
compatible with the client access device 610. Thus, depend-               Model (SOM), Distributed SOM(DSOM), Common Object
mg on the access device 610, the network entry point 620 may         is   Request I3roker Architecture (CORBA), Distributed interNet
be provided by the web a web page a hyperhnk, an apphca                   Applications Architecture (DNA) COM+ Java based corn
tion, a call center, a cell site, a TV Ilead-End Station. or              ponents, and others. For purposes of illustration, and without
others. For example, for a web-based access device, the net-              limitation, a COM object may have a "published" unvarying
work entry point 620 may be provided by a web page (e.g., a               interface that exposes its service or business flinctionalities
web page hyperlink). an application running on the client            20   and the parameters it accepts, and the COM object may be
access device (e g a Java Applet running in a web browser)                accessed in a distributed computing environment by a COM
while fora cellular access device, the network entry point 620            compliant service application to use its functionalities to
may be provided by a phone number to a call center.                       deliver services or transactions to a client. Thus, the hub 630
   The network entry point 620 allows connection with a hub               and/or the nodes 640 may provide "component-oriented
630. The hub 630 may serve as a service network control              is   middleware" that controls and manages potentially distrib-
center or network operator to configure, provision, control               uted components to create distributed applications and pin-
and manage access to and services provided by multiple                    vide the service network. The middleware may include man-
potentially geographically distributed service nodes that pro-            agement instructions to use the components to deal with
vide networked services to clients or subscribers. Advanta-               transactions, component packaging, and state management.
geously, this allows control and customization of the class          30   Typically, the hub 630 will contain software to intelligently
and level of service provided over the network by the service             switch to, mute to, configure, provision, track, manage, and
control nodes.                                                            control the objects or components. Such an architecture may
   Typically, the hub 630 includes software to control and                be well suited to a high throughput transactional environ-
manage transactions over the service network. According to                ment.
one embodiment, the hub may assist with providing the net-           35      According to one embodiment, the node uses an intelligent
work entry point 620 and access to point-of-service applica-              state management engine such as a Distributed Online Ser-
lions by providing software such as Java applets or ActiveX               vice Information Base (DOLSIB) to store and access trans-
controls. The hub 630 may also include multi-protocol value-              action management information. DOLSIBs will be described
added network switching software to switch between remote                 in more detail elsewhere in the specification. The node may
service provider nodes and routing software to perform con-          40   use the intelligent state management engine or 1)01 SIB to
trolled routing electronic transactional documents, compo-                automatically create the associations between the clients
nenis, objects, or data. in a form that may be received and               screen elements and the service objects routed to the service
interpreted by computer systems, applications, hardware, and              control nodes. Each node may have a separate DOLSIB.
other networked components associated with the service pro-               according to one embodiment.
viders. The hub 630 may also track and store data such as            45      According to one embodiment, software for the hubs and
transaction statistics.                                                   nodes may be provided as shrink-wrapped software pack-
   The hub 630 may access a plurality of nodes 640. As                    ages. The context owners and service providers may then
shown, the plurality of nodes include a node 1 650, a node 2,             obtain these software packages, input business and manage-
optionally any desired number of additional nodes 670. and a              meat objects into the DOLSIB, and create or join service
node N 680. The node N 680 may represent any desired                 so   networks.
number of nodes. Typically, each node will be associated with             Context Owners
at least one service provider. In one case, a service provider               According to one embodiment, a context owner may pro-
may provide its services through a logical plurality of nodes             vide the hub. The term "context owner" will be used to refer
based on access device, service or product offering, other                to a service provider that provides a service network of other
service providers, and for other reasons. By way of example,         ss   service providers. In one case, the context owner may use the
a service provider may provide one node for web-based                     hub and nodes to provide a virtual private network of itself
access, one node for cellular access, one node for each major             and other service providers that provide an end-to-end value.
service or product line, one node for business partners, one              added service or transaction. In this case, the hub may be
node for employees, and for other reasons. Additionally. mul-             located at the context owners web server, web site, or call
tiple service providers may share a common node. For                 60   center and the nodes may be located at the entry point into
example, the car dealer and the bank may decide to share a                private enterprise networks of the other service providers.
common node.                                                              Advantageously, context providers may use the distributed
   Each node may serve as a gateway, portal, or entry point               control and management provided by the hub and nodes to
into a private or enterprise network of the service provider,             provide control and management-addedvalue to their service
The node may provide selective access to service related             65   offerings.
resources of the service provider such as applications, data,                Another type of context provider provides a service net-
hardware, personal, and other resources. The node may act as              work of predetermined service providers associated with a
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multitude of transactional and service categor es, any one of           FIG. 8 shows a service network system 800 in which appli-
which may be selected and performed on the service network.          cations are closely connected to the service network. A node
For example, the context owner may be a dynamic yellow               810 includes a web server 815 a service network engine 820
page provider resembling a search engine with the additional         and a gateway 825 directly connected to a hub 840 and the
advantageous capability of being able to initiate a service 5 service network. The service network engine 820 represents
transaction based on a search and involve a plurality of addi-       node-side software to create and allow for the management of
tional predetermined service providers in the transaction to         the service network. According to one embodiment, the ser-
add overall value to the transaction. In this way, a user of the     vice network engine 820 is node-side Trans WebTM Exchange
dynamic transactional yellow pages may search for car deal-          software, available from WebXchange of Scotts Valley Calif.
ers using the dynamic transactional yellow pages (e.g., search 10
                                                                     The gateway allows access to applications 830 and data 835.
engine), locate a predetermined car dealer of the service net-
work, be automatically connected with one of another prede-          This is in contrast to a prior art approach where the web server
termined banks of the service network, and be connected with         alone was directly connected to the Internet and applications
a selectable one of another predetermined number of insur-           were indirectly connected via the web server. The node 810
ance providers of the service network.                            is may access the hub 840 to connect with other service network
   Alternatively, the context owner may be another context           connected entities 860, such as other nodes (within and
owner, such as a network service operators (e.g., AT&T,              between service networks), hubs, collaborating applications
Sprint, MCI), an Internet service provider (e.g.,AOL, IJUNet,        (which may be geographically dispersed), branch offices, and
Netcom PSlNet) a portals (e g 'Ot Yahoo' CNI'T enter                 others. Thus, there may be hub-to-hub and node-to-node
prise portals), a virtual malls (e.g.. Priceline, Shop(ibaol, 20 within and between service control centers, depending onthe
ToysRUs.com). an e-marketplaces (e.g., Commerce One,                 implementation.
Ariba), a direct merchant service (e.g., Bank of America,               FIG. 9 illustrates in block diagram form a method 900,
Fidelity, Vanguard, LL Bean, Amazon,com). an ASP (e.g.,              according to one embodiment, to perform a transaction via a
MGM/Blockbuster). an Internet brokerage firm (e.g..                  service network. Typically, the method 900 will be imple-
E*trade, Fidelity Investments), an extranet context owner 25 mented in logic that may include software, hardware or a
(e.g., insurance industry, underwriters), an intranet context        combination of software and hardware.
owner (e.g., a payroll processing center for a Fortune 1000             The method 900 commences at block 910, and then pro-
company connecting multiple departments and banks for                ceeds to block 920, where a service network is accessed via a
timecard input, payroll deductions/withholding adjust-               network entry point. According to one embodiment, a user
ments), a search engine (e.g., Yahoo!), and others.               30 connects to a web server (or a call center or cell site) running
   FIG. 7 shows conceptually illustrates a service network           an exchange component, the user issues a request for a trans-
system showing a hub creating controlled links to multiple           actional application, the web server hands off the request to
nodes, according to one embodiment. A client access device           the exchange, the exchange activates a graphical user inter-
710 accesses the Internet 720 and uses an IP address 730 to          face (GUT) to present user with a list of Point-of-Service
access a hub 740. By way of example, without limitation, the 35 (POSvc) transactional applications, and the user makes a
client requests or indicates to receive a service that involves      selection from the POSvc application list. POSvc applica-
interaction with node 1 760. The hub 740 is functionally             tions are transactional or service applications that are
interposed between the client access device 710 and node 1           designed to incorporate and take advantage of the capabilities
760 and establishes link 750 to node 1760. According to one          provided by the present invention.
embodiment, the link 750 is a controlled link that is controlled 40     The method 900 advances from block 920 to block 930,
by the hub and supported or carried by the Internet 720 based        where switching to a transactional application is performed.
on a predetermined IP address associated with node 1 760.            Switching may include value-added network switching to
After, simultaneously with, or before accessing the node I           local applications or components or remote applications or
760, the hub establishes link 770 to node N 780 that is also         components and causing routing to those applications or
associated with the service. The link 770 may be camed by 45 components. Switching may also include flow control, pri-
the Internet 720 and based on a predetermined IP address, or         oritization of requests. and multiplexing. According to one
may be carned on another facilities network typically com-           embodiment, interconnected OSI model application layer
patible with client access device 710 if data entry by the client    software switches may perform the switching.
is needed but this may not be necessary if only interaction             The method 900 advances from block 930 to block 940.
with hub 740 or node 1 760 is needed by the node N 780 to so where a route to a node is performed under the control of the
perform its portion ofthe service. The link 770 may represent        hub. Routing may include perfbrming multi-protocol routing
a hop that may be monitored and recorded by the hub 740 so           to remote components or applications by using Simple Net-
that a hop-based fee may be charged from the node N 780.             work Management Protocol (SNMP), Trans WebTM Manage-
   Establishing the links 750, 770 are done under the control        ment Protocol (TMP), or others. Traditional security features
and management of the hub 740. This compares favorably 55 (e.g., RSA, SETI, SET2), and others are contemplated.
with prior art approaches which provide hyperlinking and                The method 900 advances from block 940 to block 950,
which would not be able to achieve centralized control and           where transaction processing is performed. This may include
management of the service experience of the client access            retrieving data from a data repository, such as by using TMP
device. Advantageously, in this way, the client access devices       or another protocol.
service experiencemay be less like a visitor-center-type expe- 60       A determination is made at decision block 960 whether
rience, such as through yellow pages or a search engine, in          another node is involved in the service. As stated above, the
which the client is informed of a site and sent away to that site    determination may include querying and receiving a response
with loss of control over, and more like a supermarket-type          from the client and/or receiving an indication that another
experience in which control over the service experience of the       node is involved based on the prior transaction processing at
client has not been lost, and the service control of the client 65 block 950 and/or others. If yes is the determination 962 then
may be managed, controlled, tracked, and otherwise                   processing loops through blocks 940-960 until no is the deter-
improved.                                                            mination. Routing to the other nodes may be done with con-
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trol and while keeping the previous nodes involved in the          FIG, 11 conceptually illustratesa scheme 1100, according
transaction ifthey still have an interest in the transaction.   to one hierarchical tree-structure embodiment, to provide
    If no is the determination 964 then pmcessing advances      network addresses based on a unified numbering scheme for
1mm decision block 960 to block 970 where transaction           objects or components, which may be used in virtual infor-
results arepmvided. Themethod900 terminatesatbiock 980. s mation stores or DOLSIBs. A web server, which may be a
   FIG. 10 conceptually illustrates components 1000 of a        node. has an exemplary network or Internet address
service network aconiing to one embodiment                  web
bmwser access device 1010 accesses a web server 1020 that
                                                                123 123 12 123          ob3ti which may be a Java applet a

                                                                COM object or another object, has a network address based
is functionally coupedwithan exchange 103D Theexchange
                                                                    the network address of the web server In this particular
1030 may reside on web server 104 or on any separate corn- io
                                                                example, the object l's address is 123. 123.123.123. 1 Like-
paler system that is at least connected with the Internet and                                                               .



                                                                wise, an object 2 and object 3 have network addresses
                                                                      .           .

                                                     ,
capable ofbeing accessed via an Internet address. Exchange
              .              .




                                                                I 23.123i 23.123.2 and 123.123. 123.1 23.3, respectively.
1030 creates and allows for the management (or disiributed
contml)ofaservicenetwork, operating withintheboundaries         Similarly, network addresses may be provided for other
of an 12 based factitties network                  Ofl embOdl
                                                                objects as desired Thus according to this exemplary
ment, the exchange 1030 contains an operator agent ioso         approach, objects may be addressed based on a hierarchical
which may perform service network processing including          tree structure according to the node that they correspond to.
interacting with a management manager such as those             Other network addressing schemes are contemplated.
described elsewhere in the specification.                          The network or Internet address for each networked object
   Together, the web server 1020, the exchange 1030, and the 20 essentially establishes the networked object as an accessible
operator agent 1040 provide a web page 1050, one or more        or "IP-reachable" node on the network or Internet. These
point-of-service (POSvc) applications 1060, VAN switch          network addresses may be used to represent the objects in a
1070, and object router 1080. According to one embodiment,      DOLSIB.        For example, the           network address
the exchange 1030 displays an web page 1050 in the web          123.123.123.123.1 may be used to represent object I in the
browser 1010 including the list of POSvc applications 1060 25 DOLSIB. The DOLSIB may also contain a along with a
that are accessible to the exchange 1030. A POSvc applica-      name, a syntax, and an encoding. The name is an administra-
tion is an application that can execute the type of service or  lively assigned object ID specifying an object type. The
transaction that the user may be interested in performing. By       object type together with the object instance serves to
way of example, the list of one or more POSvc applications          uniquely identify a specific instantiation of the object. For
may be displayed in an HyperText Markup Language 30 example, if an object is information about models of cars,
(HTML) GUI, a Virtual Reality Markup Language (VRML)                then one instance of that object would provide a user with
GUI, a Java GUI, or another GUI.                                    information about a specific model of the car while another
   Depending on the particular implementation, although             instance would provide information about a different model
they are shown as separate entities, the VAN switch 1070 and        of the car. The syntax of an object type defines the abstract
the router 1080 may be combined to form a router to provide 35 data structure corresponding to that object type. Encoding of
multi-protocol object routing. In one embodiment, this multi-       objects defines how the object is represented by the object
protocol object routing is provided via Trans WebTh Manage-         type syntax while being transmitted over the network Then,
ment Protocol (TMP), available from WebXchange Inc. of              TMP or another protocol may be used to uniquely identify
Scotts Valley Calif., which may incorporate traditional secu-       and access these objects from the web server node, based on
rity features (e.g., RSA, SET I, SET2, etc.). Alternatively, 40 the network addresses recorded inthe DOLSIB.
muting may be done using Simple Network Management                     FIG. 12 conceptually ilinstrates a service control center
Protocol (SNMP).                                                    1200, according to one embodiment, to provide verified ser-
   One embodiment of the present invention utilizes network         vices. A client access device 1205 accesses a hub 1210. The
accessible virtual information stores to perform routing. In        arrow 1206 conceptually represents the ordering and degree
one case, the virtual information stores are distributed on-line 45 of verified completion of a service transaction. In particular.
service information bases (DOLSIBS). Information entries            the arrow 1206 is unfilled representing that no stage of the
and attributes in a DOLSIB virtual information store are            service transaction has been verifiedcompleted as opposed to
associated with a networked object or component identity.           arrow 1246 which is filled and represents that all stages of the
The networked object identity identifies the information            service transaction have been verified completed. For pur-
entries and attributes in the DOLSIB as individual networked so poses of illustration, the arrow 1206 may conceptually rep-
objects, and each networked object is assigned a network            resent a message or communication sent from the client
reachable address (e.g., an Internet address). For example, the     access device 1205 to the hub 1210, although other back-and.
Internet address may be assigned based on the lP address of         forth and inter-party interactions between the shown client
the node at which the networked object resides. Routing may         access device 1205, hub 1210, and the nodes 1215,1225, and
be done using the DOLSIB and TMP or another protocol. In 55 1235 are contemplated for many other services.
one case, TMP and a DOLSIB may be combined with Secure                 To perform a service transaction that may be requested or
Sockets Layer (SSL), s-HUP, Java. a component model                 indicated in a communication with the client access device
(e.g., DCOM), the WinSock AN, object request broker                 1205, the hub 1210 controllably connects with service pro-
(ORB), or another object network layer to perform and man-          vider node 1215. In this example, service provider node 1215
age object muting.                                               so is a supplier selling products over the service network. The
   The VAN switch 1070 and object router 1080 will be               client access device 1205 indicates to purchase one model
described elsewhere in the specification. Thus, according to        rlOO at a cost of S100. The supplier 1215 connects and com-
one embodiment, the exchange 1030 and an operator agent             municates with data source 1220 to obtain inventory data and
1040, describtxl in more detail elsewhere together perform          update the inventory to reflect the purchase of one model
the switching, object muting, application and service man- 65 R100 unit at a cost of $100. Arrow 1221 is partly filled to
agement functions according to one embodiment of the                indicate that the requested model 100 is in inventory and was
present invention,                                                  purchased. Status window 1222 indicates the purchase. A
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verified degree of completion of the service transaction is           The application layer 1307 typically defines the language
indicated by the difference in shading between arrows 1211         and syntax that applications use to communicate. Application
and 1223.                                                          layer 1307 may provide a means for application programs to
   The hub 1210 determines that the purchasing portion ofthe       access the OS! environment. By way of example. an applica-
service transaction has been verified completed and control- S tion on one computer system in a network uses application-
lably connects with service provider node 1225, which in this      layer prescribed commands to access or request data from an
example is a Visa node to bill payment to a Visa credit card       application located on another computer system of the net-
account indicated by the client access device 1205. The Visa       work. Often the application layer 1307 is responsible for
node 1225 communicates with data source 1230 based on. for         functions such as file management (e.g.. opening, closing,
example, a credit card number, to perform billing processing. 10 reading and writing files), transferring files, transferring mes-
Status window 1232 shows the billing. Completion of the            sages (e.g., email messages), executing jobs remotely, obtain-
billing portion of the service transaction is indicated by the     ing directory information about network computer systems,
difference in shading between arrows 1224 and 1233.                and other distributed computing applications. Application
   The hub 1210 determines that the billing portion of the         layer 1307 may include services such as file transfer, access
service transaction has been verified completed and control- 15 and management services (F1AM), electronic mail and vir-
lably connects with service provider node 1235, which in this      tual terminal (VT) services.
example is a FedEx node 1235 to arrange delivery of the               According to one embodiment, the invention uses software
model RlOO. The FedLix node 1235 interacts with a data             conforming to the application layer 1307 of the OSI model to
source 1240, based on delivery preference data supplied by         provide the service network by providing communication.
the client access device 1205, to arrange delivery. Completion 20 control, and management of distributed software. For
of the delivery portion of the service transaction is indicated    example, according to one embodiment, the routing switch is
by arrow 1243, which is entirely filled.                           implemented to fi.mction within the application layer 1307 of
   The hub 1210 determines that the purchasing, billing, and       the OSl model. Application layer routing may create an open
delivery portions of the service transaction are verified com-     channel for the management and the selective flow of data
pleted, as indicated in the status window 1245, and provides 25 from remote databases on a network.
confirmation of the service transaction to the client access          FIG. 14 conceptually illustrates an exemplary layered
device 1205. as indicated in status window 1250. Advanta-          architecture of a value-added network (VAN) switch 1400,
geously, the transactional control provided by the hub 1210        according to one embodiment. VAN switch 1400 and other
has allowed a multi-service provider value-added service to        interconnected switches maybe used to create an application
be provided to the client access device 1205, including veri- 30 network, backbone to provide the service network. The VAN
fication of multiple transactional portions of the service.        switch 1400 includes a boundary service 1410, a switching
According to one embodiment, the hub 1210 is financially           service 1420, a management service 1430, and an application
compensated by the nodes 1215, 1225. and 1235 based on a           service 1440.
visit or hop to the node, a purchase, a purchase amount, and          Boundary service 1410 may provide the interface between
according to other desired criteria.                            35  '.N   switch 1400 and a facilities network and client access
   FlU. 13 conceptually illustrates the Open System Intercon-      devices. Boundary service 1410 may also provide an interface
nection (OS!) reference model that is useflul to understanding     to an on-line service provider. Using these interfaces, a client
embodiments of the present invention. The OSI model is a           may use a client access device to connect to a local applica-
networking framework for implementing communication                tion, namely one accessible via a local VAN switch, or be
protocols in seven layers including a physical layer 1301, a 40 routed or "switched" to an application accessible via a remote
data link layer 1302, a network layer 1303, a transport layer      VAN switch.
1304. a session layer 1305, a presentation layer 1306, and an         Switching service 1420 may perform a number of tasks
application layer 1307. Control is passed from the application     including routing user connections to remote VAN switches,
layer 1307 located at one point in the network layer-by-layer      flow control, prioritization of requests, and multiplexing.
to the physical layer 1301 over a network communication link 45 Switching service 1420 may also facilitate open systems'
to a second point in the network and back up the hierarchy         connectivity with both the Internet (a public switched net-
from the physical layer 1301 to the application layer 1307. In     work) and private networks including back office networks.
one case each layer may communicate with its peer layer in         such as banking networks. Often, the switching service rep-
another node through the use of a protocol.                        resents a core of the VAN switch 1400. According to one
    Physical layer 1301 may transmit unstructured bits across so embodiment, the switching service 1420 is implemented as
a link. Data link layer may transmit chunks across the link and    an OS! application layer switch.
may perform check-summing to detect data corruption,                  Management service 1430 may contain tools that are used.
orderly coordination ofthe use of shared media, and address-       such as by end users, to manage network resources including
ing when multiple systems are reachable. Network bridges           VAN switches like VAN switch 1400. For example, the tools
may operate within data link layer 1302. Network layer 1303 55 may include Information Management Services (IMS) and
may enables any pair of systems in the network to communi-         applicationNetwork Management Services (NMS). Manage-
cate with each other. Network layer 1303 may contain hard-         ment service 1430 may also provide Operations, Administra-
ware units such as routers to handle muting, packet fragmen-       tion, Maintenance & Provisioning (OAM&P) functions. For
tation, and reassembly of packets. Transport layer 1304 may        example, the functions may include security management,
establish a reliable communication stream between a pair of 60 fault management, configuration management, performance
systems and deal with errors such as lost packets, duplicate       management and billing management for the service net-
packets, packet reordering and fragmentation. Session layer        work. Network management, such as provided by manage-
 1305 may offer services above the simple communication            ment service 1430, is another significant aspect of certain
stream provided by transport layer 1304. These services may        embodiments ofthe invention and may be used to add quality
include dialog control and chaining. Presentation layer 1306 65 and value to the services provided.
may provide a means by which OSI compliant applications               Application service 1440 may contain application pro-
can agree on representations for data.                             grams that provide customer services. For example, applica-
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tion service 1440 may include POSvc applications such as          terms, without limitation, that will be used in the discussion
those discussed in FIG. 10 and elsewhere. Other exemplary         below. These explanations are provided to facilitate under-
application programs that may be provided by application          standing of the following text, rather than to limit the inven-
service 1440 include multi-media messaging, archival/re-          tion. The term "abstract class" will be used to refer to a C++
trieval management, directory services, data staging, confer- 5 class that does not have all virtual functions defined. The term
encing, financial services, home banking, risk management         "class" will be used to refer to typically a C++/Java data
and a variety of other vertical services. The applications ser-   structure definition that defines both the data and the func-
vice 1440 may contain applications having design features         tions. ilie term "interface" is a Java term similar to the C++
that allow them to conform to standards related to perfor-        abstract class. A "mets-compiler" translates a higher-level
mance, reliability, maintenance and ability to handle 10 "meta-language" (e.g., WebX. available from WebXchange)
expectedtraffic volume. Dependingonthetypeofservice, the          from the "mets-file" into a lower-level language (e.g., C++)
characteristics of the network elements may differ. Typically.    output file for and before giving to a traditional compiler. The
application service 1440 will provide a number of fUnctions       software may be compiled under a version of Windows NT
including communications services for both management             using a Microsoft Visual C++ version compiler based on the
and end users of the network and control for the user over the is wx.lib and the Rogue Wave libraries, available from Rogue
user's environment.                                               Wave of XXX. XXX, Tools++, Net++ and Threads++. Other
   FIG. 15 conceptually illustrates a VAN switch 1500.            software platforms are contemplated. The term "object" may
according to one embodiment The exemplary VAN switch              be used to refer to a C++/Java data structure instance that is
1500 contains an exchange 1520, and a management agent            defined by a class.
1560 that are potentially geographically distributed over the 20      FIG. 16 conceptually illustrates software layers of an
Internet 1510. The exchange 1520 and the management agent         object router 1600, according to one embodiment. The layers
1560 may take on different roles as desired, including peer-       include a transport layer 1610, a line protocol layer 1620. a
to-peer. client-server or master-slave roles. Management          marshalling/serialization layer 1630, a connection manage-
manager 1550 may reside on a separate computer system             ment layer 1640, an exception handling/thread rendezvous
either on the Internet 1510 or anywhere where the Internet s layer 1650, a class abstraction/stub & skeleton layer 1660.
1510 connects with another computer system or network.             and an distributed object model layer 1670.
Management manager 1550 may interact with an operator                 A meta compiler 1680 may be provided for use with the
agent associated with the exchange 1520. In alternate              layers 1660 and 1680 The mets compiler 1680 will be used
embodiments, two or more of the components shown may               broadly to refer to an automated mechanism to code features
reside on the same computer system or location in the Internet 30 based on structured typically concise definitions. For
1510.                                                              example, the meta compiler 1680 may take a definition file
    An object router may be used to controllably route to          and substantially automatically create the object identity, data
networked entities such as computer systems, applications.         serialization, data marshaling, string execution, abstract base
objects, and data. The object router may allow for the trans-      class, and the stub/skeleton multiple inheritance. Advanta-
parent completion of service transactions involving distrib- 35 geously, such automated coding may improve the efficiency
uted applications and software components without the pro-         of the implementation and may reduce errors. Of course,
grammer needing to know whether networked entities are             coding may be performed manually without such a mets
local or remote. The router may be able to automatically           compiler, although such implementations are expected to be
determine this, such as based on looking up a network address      more laborious, expensive, and prone to error.
of a relevant entity and using correct operations compatible 40 The meta compiler 1680 may use a Tool Command Lan-
with the type of entity. .Anobject muter may include a library     guage (TCL) program ora similar program or encoding. TCL
to provide support for the application programming inter-          is an interpreted script language that may be used to develop
 faces (APIs) to remotely access an object, its data, and its      applications such as GUIs, prototypes, CUl scripts, and oth-
 functions in an object network. This interface may provide a      ers. TCL may provide an interface into C, C++. and other
 skeleton class to contain the functionality of the object and 45 compiled applications. The application is compiled with TCL
 corresponding or counterpart stub class to allow remote           functions, which provide a bi-directional path between TCL
 access ofthe object. A stub anda skeleton may be functionally     scripts and the executable programs. TCL provides a way to
 coupled together. For example, a stub may be installed on a       "glue" program modules together. TCL may also come as
 client computer system and a corresponding skeleton               TCLTFookKit (TCL/Tk), which provides a GUI toolkit to
 installed on a server computer system and in combination so create GIJIs. Scheme. Pen, and Python have incorporated
 they intemperate to allow a remote procedure or method call.      elements of TCL/Tk. According to one embodiment, the meta
 In one case the stub may declare itself and its parameters.       compiler 1680 is the rme2c mets compiler discussed else-
 A.rguments to the function may be specified in a mets file and    where in the present application.
 a type of the argument may be specified by value or by               In one embodiment, the mets compiler is run by the corn-
 reference. The object router may allow for new data types to ss mand rme2c<classname>. where the classnaine is the base
 beconstnicted, using the basic data types ofthe programming       class (e.g., Account). The Account.mie file as well as other
 language used in the particular embodiment: hit and String.       parent definitions should desirably be in the same directo.
 Single simple inheritance classes may be constructed and          The object router TCL files are found under Wx/Util. These
 then used as data members or pointer within another meta          files parse the description file and produce the six C++ output
 class. Typically, the router will be implemented inaprogram- 60 files. Often, the syntax of the meta compiler should be
 ming environment and language that is object-oriented and         adhered to closely. Blank lines and lines beginning with a
 allows for distributed computing, such as C++, Java, and a        pound sign "//" are considered comments. The following
 component model. However other embodiments are also con-          words may be reserved:
 templated.                                                           include [c*,h*,j*,*base,*skel,*stub] To add code or ver-
    Before continuing with the detailed explanation of the 65            hose code to one of six files: cbase, hbase, cstub, hstub,
 present invention and various exemplary embodiments of the              cskel or hskel. The programmer may also speci1' all "c"
 present invention, it may be helpful to briefly explain some            files, "Ii" files, or "base", "skel" or "stub" files.
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    endinclude-4o end the verbose inclusion.                          the code to perform these functions will be generated by a
    header <class>to indicate that the compiler will wait for         mets compiler based on base classes.
      the header section to complete.                                     The object router may also perform data marshalling. Data
    beginclass <class>[<parent>Jto indicate the class name            marshalling may include checking parameters that are passed
      and any parent.                                               5 as arguments to methods to determine if any parameters are

    begindatato signals the begin of the data section                 missing or wrong, and may include throwing an exception or
    data [<penn>}<type><name>to provide a data defini-                otherwise signaling if a parameter is missing or wrong. This
      tion statement.                                                 may be provided by a meta compiler in the stub and skeleton.
    enddata-to end the data section.                                      The object router may block a thread during network trans-
                                                                   10 mission and reception by using a different thread to perform
    beginmethodto begin the method section.
    method         [consti        [<penn>)<returntype><zname>         the actual network activity and control the calling thread
                                                                      status. Advantageously, this may allow a remote object to be
      [{<argljype><argl_name>},         .   .     1to    define  a
                                                .
                                                                      called similarly to a local object. In one case, a Rogue Wave
      method.
                                                                      RWCondition class in the WxRemotePDU class may perform
    endmethodto end the method section.                            is this function.
    endclassto end the class definition; typically this is the            The object router may use string execution to allow an
      last statement in the file.                                     ASCII string representation to call a method. This may pro-
    With reference to FIG. 16, and portions of FIGS. 18 and           vide a useful, simple, and unique means of calling a class
21-22, an exemplary object muter will be described that pro-          method that may also be used directly by a programmer. A
vides distributed transactional services based on controlled 20 meta compiler in the base class may create this data marshal-
connection and communication between distributed software             ling.
objects. During this discussion, details are given, including             The object router may also perform reference counting on
the model represented by FIGS. 18 and 21-22 and particular            local and/or remote objects. This may avoid time consuming
objects, methods, syntax, convention, and other particulars           malloc's, free's, and confusing details of which function is
that are useful to illustrate operation of certain embodiments 25 responsible for deleting which object. The object router may
but which are not needed. Those having an ordinary level of           use such reference counting to deal with WxRemoteObject
skill in the art will appreciate that there are alternative imple-    types. The programmer may also use reference counting.
mentations that take entirely different modeling approaches           Typically, a WxRemoteObject child should not be destroyed
compared with the models shown in FIGS. 18 and 21-22.                 using delete, and an exception maybe thrown if this is tried,
 i'hey will also appreciate that the syntax is dependent upon 30 but rather the WxRemoteObject child should be destroyed by
the elected programming convention and may change for                 using the member function ol...unreference( ). Also. if a user
non-C++, non-Java, and non-object oriented environments.              stores a copy of a WxRemoteobject child, the method oljef-
Accordingly, while the particulars are useful for illustration,       erence( ) should be called to prevent the object from being
they should be viewed in that illustrative sense rather than in       destroyed by some other user or method. WxRemoteOb-
a limiting sense.                                                  35 jectlnt may provide this interface.
    A detailed discussion of an exemplary object muter is                 The object router may use an abstract base class and mul-
provided without limitation to further illustrate operation of        tiple inheritance according to certain embodiments. Advan-
an object muter according to certain embodiments. In the              tageously, the abstract base class may allow interaction with
following discussion, the reader is respectfully directed to          a local or remote object without knowing its location. This
FIGS. 1$ and 21-22 and associated text for further illustration 40 base class maybe the parent of both the stub and the skeleton,
and discussion of the characteristics and structure of the            which may be inherited from the abstract base class and from
classes and objects used by the exemplary object muter.               their respective object layer classes. This allows them to
    The object router typically includes functionality to deter-      inherit the functionality of the base class as well as the object
mine an object identity for a networked object in order to            layer routines. Often, the inheritance will be provided by the
communicate with the object. The identity may be deter- 45 meta compiler.
mined from a library that Stores identities for many such                 The object router may also include at least an interface to a
networked objects. In one case, the object identity may be            user-defined data model to provide a basis of the object layer
determined by using a WxObject in a wx.lib library. In such a         to the next level up the software layers. The user-defined data
case each new class "XYZ" may add a XYZ...ClasslD,                    model may include a set of user-created classes built around
XYZStub_ClasslD and XYZSkeLCIassII) to the so and on top of the object router APIs. This foundation appears
Wx/ClassID.h file. Based on the object identity the object            local to the programmers using the object layer even though it
router may transparently determine whether the object is              may be remote.
local (e.g., a skeleton on a server) or remote (e.g.. a stub on a         FIG. 17 conceptually illustrates data model integration
client or an object on another server). The object router may          1700 for an object router of one embodiment. The object
also determine the argument parameters and object serializa- 55 model 1700 represents one breakdown of base classes into
tion.                                                                 inherited or derived classes, although other embodiments are
    The object router typically uses some protocol to commu-          contemplated. For convenience, the components will be
nicate with remote computer systems and software. Commu-              referred to by name (e.g., WxObject) rather than by number.
nicating may include transferring objects, parameters, and                The object model 1700 comprises base classes WxObject
data. Often a network line pmtocollTCP will be used. The &o and WxRemoteObjectlnt from which other classes and
WxRemotePDU shown in FIG. 22 includes a plurality of                  objects derive. The derived components are either object
parameters and methods to provide a protocol data unit                layer objects 1720 (e.g., Object. WxRemoteObject, WxRef-
(PDIJ) that conforms to the protocol. The objects, parameters         erence, WxRemoteSkel, WxRemoteStub) or data model
and data may be serialized onto a network stream that is sent         objects 1740 (e.g., WxName, WxNameStub, and
to the remote computer system. The persistence nature of 65 WxNameSkel).
RWCOLLECTABLE shown in FIG. 21 may providethe data                        A programmer that is creating transactional objects is
serialization to transmit the data. Often, at least a portion of       likely to work closely with the base class WxRemoteObject
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                                21                                                                    22
and/or WxRemoteObjectlnt. WxRemoteObjectlnt is an                        To indicate if a data member is passed by reference, an
abstract base class that may contain all of the member meth-                asterisk (i.e., *) maybe appended to the data type in the
ods and data access components as well as support functions                 "data" declaration section of the object muter mete file.
to provide a unifonn interface to behave as a WxRemoteOb-                   Similarly, this may be done for return types in the
ject. For example, this may include (a) WxStringExecution to 5              "method" section and for arguments to methods.
execute any method using a simple ASCII string and object                When data is passed by value into a function, it will be
type data, (b) WxLock to provide a thread synchronization                   proceeded with "const" to signi!' that the object is not to
mechanism, (c) WxFlags to provide a simple and consistent                   be changed.
Boolean flag variable, (U) reference counts to allow sharing             The header file WxJClassIDJi may contain all ClasslDs for
and manage ownership concerns. (e) conversions between °
                                                                            the base classes and their stubs and skeletons. Object Ida
OBJECT. WxRemoteReference, WxRemoteStub and WxRe-
                                                                            may be placed in this (e.g., by the programmer) before
moteSkel types, and others as desired. As shown, both the
object layer objects 1720 and the data model objects 1740                   running the object router mete compiler.
inherit an interface specification WxRemoteObjectlnt.                    The CC and HH files may be included from the object
    WxName is a new data model object 1740 that contains one                muter meta file to add additional functionality to the
data member "name" which is a string. The meta compiler                     base, stub or skeleton. For example, if a function void
may automatically create two access components for this data                xyz( ) is added to the XYZ skeleton class it may then be
member, namely Get_Name and Set_Name. The meta com-                         added to the XYZ.rme file:
piler may also create the server and client versions of this data           include hskel
object.                                                            20       void xyzQ:
    Typically the skeleton is used to represent the server side of          endinclude
the object muter. For example, WxNameSkel is a class that is                include cskel
derived off the abstract base class WxName and WxRe-                        #include "XYZSkeI.cc"
moteSkel. Often the programmer defines or customizes the                    endinclude
methods, except for the data access components, for the skel- 25         This will then include the simple declaration "void xyz( )"
eton, since this is the actual object embodying the business or             into the header for the skeleton and also include the
transactional methods. Real instances of the class may be                   definition for xyz() from the XYZSkeI.cc file.
created with the suffix "skel".                                          The suffixes "cc" and "hh" may be used rather than "cpp"
    The stub represents the client or remote side of an object for          and "h" since the object router meta compiler uses those
the object router. As with the skeleton, the stub too is derived 30         suffixes for the final XYZ files.
off the abstract base class WxName and an object layer class             The CPP and H files are automatically generated by the
 WxRemoteStub. Typically, the meta compiler will generate                   object router mete compiler for the base, skeleton and
all methods for the stub.                                                   stub. i)esirably, the programmer should not edit the cpp
    Without limitation, the use of certain conventions and                  or h files directly. Rather the programmer should
codes (e.g., prefixes, suffixes, etc.) may be used to improve 35            modif' the rme file and recompile.
certain implementations. A partial list of exemplary conven-             Strings used in the object layer may be passed either by
tions and codes is provided below. Those having an ordinary                 value using RwcString and "coast char*" orby reference
 level of skill in the art will appreciate that the exemplary               using the RwCollectableString (also known as "string").
conventions and codes are not needed to implement the inven-                In some cases, the programmer knows which version is
tion. Ihay will also appreciate that numerous other conven- 40              most desirable: pointer or static object. Based on pro-
 tions and codes may be conceived to improve certain other                  grammer need, the programmer can choose either the
aspects.                                                                    function foo( ) which returns the string by value or
    The StringExecutionint class may prepend all of its mem-                foo_p1r, which calls the same function but returns a
      ber functions with "se_".                                             copy of the string on the heap as a pointer.
    The object layer classes may prepend their member func- 45           Two data access components may be automaticallycreated
      tions with "oL" to avoid name-bashing with derived                    for each data member, namely "get" and "set". There
      classes that are built using the base classes created by the          may be different operation for different types of data
      meta compiler.                                                        such as integer, string, and others. The integer case is the
    Member data in the skeleton may be prefixed with "_" as a               simplest and creates member functions mt getxyz(
      reminder and indicator that the data is local to the object 50        const and void set_xyz(int). The string case has been
      and usually protected.                                                mentioned elsewhere, and creates three methods: Rwc-
    To deal with synchronization issues, any modification of                String get_xyz( ) coast, String *get_xyz_ptz.( ) and
      local member data within a skeleton should be guarded                 xyz(const char*). The case WxRemoteObject by value
      by ReadLockGuard or WriteIockGuard when accessed                      creates two functions: XYZ* get_xyz_val() const and
      since other threads maybe sharing this data.                 55       void set_xyz(const XYZ*). The case WxRemoteObject
    Skeletons may be suffixed with "skel" and stubs may be                  by reference also creates two functions, XYZ' get_x-
      appended with "stub".                                                 ys_reg ) const and void set_xyz(XYZ*). This also
    WxRemoteObject derived data may be passed with a                        assumes that the "set" function will retain a copy ofthe
      pointer.                                                              object.
    To indicate who has ownership of the data, the suffixes 60           FIG. 18 conceptually illustrates a banking service transac-
      "_ref" and "_val" may be added by the meta compiler to          tion 1800 involving a single bank service provider, according
      indicate if the data is passed by value orby reference. If      to one embodiment. The banking transaction 1800 includes a
      it is passed by reference, the function may then return a       client HTML browser 1805 accessing a web server file sys-
      pointer that has had the reference count incremented. If        tem 1810 associated with the bank. The web server file system
      it is passed by value, the data may be copied from the 65 1810 returns a bank introductory web page 1815 that is dis-
      original soulte and the receiver may unreference this           played via the browser 1805. The web page 1815 may include
      using DeleteObject.                                             any desired content as well as a transactional request mecha-
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                             23                                                                24
nism 1816 (in this case EAccess Accountj). The user selects          beginmethod
the request mechanism 1816 indicating a desire to perform            #PUT MEMBER METHODS HERE
the banking transaction.                                             method void deposit {int x3}
    In response to the selection, the web server 1810 starts an      method void withdraw {int x}
applet 1820 that runs in the web browser 1805. The applet            endmethod
1820 registers with the object router. The object router may         endclass
determine the identification and network location of one or          This class may contain methods and data. In this case, the
more objects associated with the transaction. The object           data may be an integer describing the amount of money the
router may assist with creating stub 1830 on a computer            accountholds. Deposit and withdraw methods may increment
system 1825, which may be the computer system running the 10 or decrement the integer amount as follows:
browser 1805 or another computer system. According to one
embodiment, the computer system 1825 may be a hub.
    Via the stub 1830 a connection is made to a server 1835
containing a skeleton object 1840 associated with the bank                      void Wx ankAccountskel::dcpoEit(int x)
transaction. Thus, once the stub is received, the user can then 15                WriteLockOnard Iock(wxloek( ));
                                                                                _ba1ace + a:
look up bank accounts as if local to the skeleton on the server
side. The skeleton object 1840 presents transactional data                      void Wxl3ankAccountSkel::withdraw(int x) {
1850 to the user. Often, the transactional data 1850 will                         WriteLockGuard lock(walock( )):
include a field for data entry, such as the 11) and Pin fields                      ba1aii -

shown. The user may enter data into these data fields and 20
return the entries to the skeleton 1840 via the stub 1830.
Based on these entries the skeleton 1840 may perform trans-          Notice that the programmer should provide thread locking.
action processing. Transaction processing may include con-         For example, by adding the statement, WriteLockGuard lock
necting with other local objects such as a user-specific Bob's     (wxlock( )) to each desired method. Note that when the
account object 1845 and non-user specific Joe's account 25 method is locked, no other locked methods that include any
object 1846. In this case, user-specific data may be obtained      object-layer defined data access components may be called.
 from Bob's account object 1845 and returned to the browser        The above file(WxBankAccountSkel.cc) defines the skeleton
 1805 via the skeleton 1840 and stub 1830 as transaction data      methods. The stub methods are typically defined by the rme2c
 1860 including deposit interaction field 1862 and withdraw        meta compiler.
field 1864.                                                     30   The Bank.rme file may be represented by the following
    A stub object 1865 associated with the transaction data        code:
 1860 may be established at the computer system 1825 to                INCLUDE ANY ADDITIONAL C CODE FOR THE
per-form transactions associated with the interactions 1862             SKELE1ON
 and 1864. The user may then enter an amount into deposit             include cskel
 interaction 1862. which then activates a deposit of said 35          #include "WxBankSkel.cc"
 amount into Bob's account object 1845 via object 1865. Of           endinclude
 course, in other implementations this could be handled dif-          #INCLUDE ALL I-I FILES FOR DATA TYPES USED IN
 ferently. For example, such operations could be performed by            ALL C FILES
 a stub 1830, which also includes the functionality described         include c
 for stub 1865.                                                 40    #include "WxBankAccountSkel.h"
    Advantageously, the user was able to receive controlled           #include "WxBankAccountStub.h"
 banking transaction processing. Other embodiments are con-           endinclude
 templated, including more complicated and interactive single         beginclass WxBank
 service provider transactions (e.g., in which more arrows are        #PUT MEMBER DATA HERE
 hi-directional) and involvingmultiple service providers. The 45      begindata
 later case of multiple service providers will be shown and           enddata
 described for FIG, 20. However, first it may be useful to            #PU I MI'MBFR MITHODS HFRF
 provide further implementation details that may be used to           beginmethod
 implement the banking transaction 1800. Other details and            method coast WxBankAccount getAccount {int id} {int
 corresponding details for the other embodiments discussed 50            pin}
 herein will be apparent to those having an ordinary level of         endmethod
 skill in the art based on the present disclosure.                    endclass
     A programmer may begin by creating a definition file             This file, when processed by rme2c will create six files:
 describing the WxBank and WxBankAcount objects. Typi-             WxBank.h, WxBank.cpp, WxBankStub.h WxBankStub.cpp.
 cally this will be written in a simple language, such as TCL, ss WxBankSkeLh and WxBankSkel.cpp. These six files
 which may be parsed by the nue2v meta compiler. For               describe the operation and remote execution of the WxBank
 example, the WxBankAccount file may be written as:                object. Since there is no data, no data access components will
    include cskel                                                  be generated. The method "getaccount" is defined as follows:
    #INCLUDE ANY ADDITIONAL C CODE FOR THE                         method coast WxBankAccount* getaccount {int id} {mint
        SKELETON                                                so pin}. The keyword coast identifies that this method will not
    #include "WxBankAccountSkel.cc"                                change the object data. The next keyword is the returned
    endinclude                                                     object wW3ankAccount*". The asterisk indicates that the
    beginclass WxBankAccount                                       object will be passed by reference. The "getaccount" is the
    begindata                                                      actual method name. Two parameters of the method are pm-
    #PUT MEMBER DATA HERE                                       65 vided next in braces. Each parameter is provided in braces
    data lot balance                                               with a data type followed by a parameter name. In this case
    end data                                                       there are two integer parameters with name id and pin.
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                                      25                                                                           26
   The programmer may describe any additional functionality                              The hub 1904 includes a greeter 1915, which may be
for the operation of this object and the definitions of the                           software or a dedicated server. In this case, the greeter 1906
skeleton methods in the WxBankSkel.cc file. The WxBank-                               contains a web page 1908 containing HTML code and an
Skel.cc file may contain:                                                             applet 1910. The web page 1908 presents a window 1912 in
   WxBankAccount* boh=0                                                          5
   WxBankAccowit* WxBankSkel::getAccountjef(int id,                                   the browser client 1902 including text 1914 and a selection
                                                                                      mechanism 1916 to indicate a particular transaction (e.g., in
      mt pin) coast {if(bob) bob.oJ_referenceQ;
   return bob:                                                                        this case to puitbase product 1).
                                                                                         In response to a selection of the mechanism l9l6theapplet
   This is a simple example in which getAccount returns                               1910 starts running in the client 1902 to present a transaction
                                                                                 10
Bob's account. Note that the actual method name is "getAc-                            window 1918 and a VAN switch (not shown) may switch to a
countjef' with "ref" appended since this method will return                           particular transactional application associated with the
an object by reference. Also, notice that before simply return-                       mechanism 1916.This may include registering with an object
ing the global variable Bob, the reference count is incre-                            router 1920. The router 1920 may then mute to a first node
mented since getaccount is passing a new reference.                                   1922 including a supplier object 1924 and a product object
   Typically the skeletons are created in the server side. Then
                                                                                      1926 which may then return window 1928 including a cost
the skeletons may be registered in the name server, as indi-
cated by the following exemplary code:                                                $100 for product 1 and payment options including a mecha-
                                                                                      nism 1930 to allow payment from a particular bank's bank
                                                                                      account.
                                                                                 20      In response to selection of the mechanism 1930 the router
eaten, WxltankAecount bob; //global used by Bank::getkccount()                        1920 mutes to a second node 1940 including a bank object
void main(int argc, char" argv) {
      R.WWinSocklnfo wiosock, f/initialize the socket library
                                                                                      1942 associated with the bank. The bank object 1942 returns
      WxRcmoteConnectionServer a; // create the socket server                         a window 1946 including an ID entry mechanism 194$ and a
      WaBank bofa It create a bank                                                    Personal Identification Number (PIN) entry mechanism
      WxBankAccountjoe; /1 create jo&a account                                   25   1950.
     joe.set_batance(0); //with a $4) balance
      bob - new WxBankAccount( ); If create bob's account
                                                                                         In response to submission of a corresponding 11) and PIN
      bob->setbalaace( 10000); f/with a $100 balance                                  the object muter 1920 routes to the bank object 1942 and an
      bob.>deposit(20000); //then, deposit $200.                                      account object 1944 corresponding to the ID and PIN. The
      I register bolk with a global name --- after evetything else is done'           account object 1944 returns a window 1960 including
      bofa.set_oLsame(new Stdng("BofA"));
      / start the connection server receiver
                                                                                 30   account corresponding to the client of the Ii) and PIN includ-
      RWThiead server -                                                               ing a balance of $4000 and an electronic payment option
           iwMakeThreadFunctionl                                                      mechanism 1962.
            s4WxRemoteConnectionServerrun,(ItWBarder")0);                                An account stub 1964 may also be activated or transferred
      sewer.stsxt();
      server.Ioinll;
                                                                                      to the hub 1904 to correspond and interface to functions
                                                                                 35   associated with the account object 1944. In response to selec-
                                                                                      tion of the payment option mechanism 1962 the account stub
                                                                                      1964, the account object 1944 and the supplier object 1924
   The client may have the following exemplary code:                                  may interact and process so that thepurchase price of$ 100 for
                                                                                      the product I is paid flm an account of the client to an
                                                                                 40   account of the supplier.
ii ereate a global Santtion which is called from a RegueWave threa&t                     Numerous variations and alternative embodiments are also
void asyne( I {                                                                       contemplated for a multi-service provider transaction. For
      WxkemoteConuectionMonitor monitor;                                              example, several single-directional arrows have been shown
      WxResnoteClient' local - jnonitor.client(iocalhost");
                     -
      WBank" bofa LOOKUP(WxBsnk,"BofA",local);                                        for purposes of clarity, however any or all of these arrows
      WaBankAccount' bob - bofa->getAccouut(10,20); //arguments are              45   could represent bi-directional communication. Additionally,
      dummy                                                                           certain objects (e.g., supplier object 1924 and product object
      rout << "bobs account balance is (should be 30000):"                            1926) could be combined, or further subdivided into addi-
       <<bob.>getbalanee( ) << endt;
      bob.>wthdraw(5000); I/withdraw $50.
                                                                                      tional objects. Accordingly, the example is to be viewed in an
      rout << "bob's new balance is"<<boh.>get_balance( ) << endl:                    illustrative rather than a restrictive sense.
                                                                                 50      FIG. 20 conceptually illustrates a banking transaction
void main(int srgc, char" argv)                                                       2000, according to another embodiment. As shown, stub
     Wxemoteobject;:jnitializeSthngbxecutjonTablesQ;
     WxBankSkel::wxClasshiieraicby();
                                                                                      components 2005, 2010 may be located on a first computer
     WxBankstub:.wxClassHierarchyO;                                                   system 2015 and corresponding skeleton components 2050,
     WxnankAccountSkel::wxClaasHiexarchy();                                           2055. 2060 may be located on a second computer system
     WxBankAccousltStub::wxClaasHieraxchyO;                                      55   2065. These components may behave as described elsewhere
     RWwinSocklnfo winaock
     II start the RogueWave thread- and wait until it exits
                                                                                      in the present application.
     RWmread thread - rwMakeThreadFunction(ssytte);                                      The first computer system 2015 may have a WXREMO-
     thread.startO;                                                                   TECL1ENT object 2020 to request access into the service
     thread.joinO;                                                                    network. The second computer system 2065 may have a
                                                                                 so   WxRemoteConnectionServer object to receive the request
                                                                                      and serve as the entry point into the service network. This is
   Advantageously, in this way the programmer does not have                           an object of the main class of the server side of the object
to know, nor care, whether the object "bob" is local or remote.                       router. The WxRemoteConnectionServer then connects the
   FIG. 19 conceptually illustrates a multi-service provider                          WxRemoteClient with the WxRemoteServer Then, the
transaction 1900, according to one embodiment. In this par-                      65   WxRemoteClient and WxRemoteServer may communicate
ticular example, a web browser client 1902 accesses a remote                          by a TCP socket 2040. By way of analogy, this is similar to a
hub 1904 that serves as a network entry point.                                        person (WxRemoteClient) dialing up a telephone operator
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(WxRemoteConnectionServer) and the operator directing the               WxRemoteStub
call to the correct person (WxRemoteServer).                            All stubs are derived from this object and the abstract base
    FIGS. 21 and 22 conceptually illustrate a class diagram             object for the class. This object provides some interfaces to
showing the classes and functions of an object router of one            the object router library that is used by the mets compiler.
embodiment. The schematic 2100 shows the relationship s WxRemotePDU*.,,ol_execute(WxRemotePDU* pdu) coast
between FIGS. 21 and 22, A brief discussion of the classes              This will block until ol execution is finished. It will take the
and functions will be provided to further illustrate operation          pro-formattedPDU.
                                                                        WxMarshalld_ol_send(WxRemotepDU* pdu) coast
of an object muter. Those having an ordinary level of skill in
the art will appreciate that other object routers, classes, class
                                                                        This is a non-blocking remote execution, which returns a
                                                                     to WxMarshalld that may be used to receive the result.
models. and functions are contemplated.                                 WxRemotePl)U*_ol,.peek(WxMarshalld hi) const
WXREMCfl'F.OBJECTINT
                                                                        This checks if the PDU id is returned from execution.
    This is an interface typically included in all remote objects.      WxRemotePDU*_ol_receive(WxMarshalld id) const
The interface usually contains several abstract class defini-           This blocks until the PDU is returned.
tions7    including WxStringExecutionlnt, WxLock and t5 WxRemoteClient*_ol..connect( const
                                                                                                            )
WxFlags. It may also define methods that are used by all or             This ensures the connection to the other side is established.
multiple remote objects.                                                WxRemoteSkel
RWBoolean olJsValid( ) coast                                            All skeletons may be derived off this object and the abstract
This may be tested if the programmer does not know if this              base for the class. This object provides the interface
object is local or if the connection is established. This will 20 ol_methodPDU( ) for the meta compiler to the object router.
return 1 RIlE if the object is local or it has a connection to the      WxRemotePDU
remote object.                                                          Ibis is the actual data packet sent across the network. The
unsigned get_ol_referenceCnt( ) consi                                   data in this are:
This returns the number of pointers outstanding for this                WxMarshalld id
object. Typically, if garbage collection is enabled, this object 25 'this is the PDU packet number, typically a monotonically
will automatically be destroyed when the referenceCnt                   increasing integer to uniquely identi1' the packet.
reaches zero.                                                           Unsigned Flags
WxReferenceld get,oljeferenceID( ) coast                                These are option flags to modi1r the execution of this proto-
'This is the remote referenceld for this object. This WxRefer-          col. The flags may include:
                                                                     30 Synthis will perform synchronous execution of the packet
enceld uniquely tags an object instance on the server for the
                                                                        at the server (no threads).
established connection. 'l'his is not a well-known name in the
                                                                        NoMarshalthis is an unconfirmed execution similar to
 sense that it is not guaranteed to be the same with a difference
                                                                        UI)P.
connection.                                                             Logthis will log this request
unsigned oLreference( ) const                                        35 Responsethis indicates that the PDU is a response
This increments the number of references outstanding. Typi-             Valthis indicates that the result should be a value rather
cally this will be perfonned whenever a new copy of the                 than a reference.
pointer is stored.                                                      Unsigned Type
void ol_unreference( ) coast                                            This is one of several known protocol operations:
This decrements the reference count and should be called o I)isconnectclose the connection between WxRemoteCli-
 instead of delete.                                                     ent and WxRemoteServer
Object* ol_Object( ) coast                                              Erroran error occurred in processing the request
This type casts this instance to an RWCollectable pointer.              Resulta packet containing the result of a request
 WxRemoteStub* ol_Stub( ) coast                                         Lookup--a request to find a WxRemoteReference based on a
 This will return a stub for this object. If the object is local it 45 well-known name in the WxRemoteNameServer
 will create a stub, otherwise if this is already a stub it will        Pinga request for the server to send a Pong back.
 increment the reference count.                                         Ponga response from the server to the client to a Ping
 WxRemoteSkel* ol_Skel( ) coast                                         Method--a request to execute the command on the server
 This will return a skeleton for this object. Ifthis is a skeleton      Unxeferencea request to decrement a reference count.
 it simply increments the reference count. If this is a stub it will so Referencea request to increment a reference count.
 create a new skeleton, copy the data, and return it.                   RWCString cmd
 WxRemoteReference* oLremoteReference( ) coast                          This is an ASCII string command to execute on the remote
 This will create a WxRemoteReference object that is used for            server. This is the "name" in a Name-Value pair.
 serialization.                                                          WxReferenceld referenceld
 WxRemoteObject                                                      55 This is the object WxReferenceld on the server to uniquely
 This is the actual first level implementation of the above              identilj the object of this PDU.
 interface and adds String Execution to the above functions.             Vector* data
 Typically all of the router objects are derived from this object.       This is the data fora method execution. This is the "value" in
 WxRemoteReference                                                       a Name-Value pair.
 This is a type of network "pointer" which indicates where the so WxRemoteConnectionServer
 actual skeleton object resides. lt contains the following data:         This is the main class on the server side of the object muter
 RWlnetflost host; mt port; RWClassID classiD; and WxRef-               that may serve as an entry point into the system for a WxRe-
 erenceld referenceld. The port and host uniquely specit' the           moteClient requesting access. It may connect the client with
 socket for the WxRemoteConnectioikServer. The referenceld              the correct objects to perform the transaction.
 uniquely specifies which object on the WxRemoteConnec- 65 WxkemoteConnectionMonitor
 tionServer is pointed to. The classiD is used to construct a            This is the main class on the client side of the object routerthat
 local stub object.                                                      may serve as an entry point into the system for a connection
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and to create a WxRemoteClient for a particular destination,         receiving an event. The term "event" will be used to refer to
9y way of analogy, this is similar to a phone operator who           the inbound trigger that causes the machine to perform some
directs outbound calls to the correct person. That person, in        transition, The term "action" will be used to refer to the output
this analogy, is the WxRemoteConnectionServer.                       ofthe machine as a result of a transition. The term "diagram"
WxRemoteServer                                                     S will be used to refer to a complete finite state machine
This is a component on the server side of the client-server          description containing states and transitions.
communication channel to process each inbound request. The              The architecture of a business object may at least concep-
WxRemoteServerwill spawn a new thread for each WxRe-                 tually comprise four parts, including: (l)the Extended Finite
motePDU method packet. There is one WxRemoteServer for               State Machine (EFSM) DOLSIB in the CoreBusinessObject
a WxRemoteClient.                                                 10 or Management Object (C++), (2) the object router interface
WxRemoteClient                                                       for the business or management object to the DOLSIB.
This is a component on the client side of the client-server          (C++). (3.) the enterprise interface protocol (specification).
communication channel to send each outbound request and              and (4) the DOLSIB instructions for the business or manage-
rendezvous with the inbound response. There is one WxRe-             ment object (EISM). The first part (DOLSIB and CoreBusi-
moteClient for a WxRemoteServer.                                  15 nessObject or management object) may be built only once
WxRemoteError                                                        and may be part of the object router library. The second part
This is the class that is thrown by both the client and server       may be built as a common business object and should be
side when an error is detected. 'Fhese may be fatal and non-         generic enough to be configurable for different merchants.
recoverable.                                                         The third part is a specification that may be written by the
WxRemoteException                                                 20 merchant for his own enterprise interface. The fourth part
This is a class that is thrown by both the client and server side    may be configurable during runtime for different business or
when an exception is detected. These may not be fatal and the        management objects.
programmer may provide recovery code, as desired.                       The following sections further discuss the l)OLSIB. the
   FIG. 23 conceptually illustrates a timing diagram for an          language and grammar of the DOLSIB. and the CoreBusi-
object router, according to one embodiment. The timing dia- 25 nessObject or management object. Specific examples, in this
gram represents the startup of the object-layer on both the          case banking examples, illustrate different service provider
client and server sides and shows the operation and timing of        enterprise interfaces.
objects and threads. It also demonstrates alookup("root") call          FIG. 24 conceptually illustrates a simple Finite State
from the client and a later getname( ) method call on the root       Machine (FSM) 2400 that is useful for understanding con-
object. The vertical lines represent the objects, data, and 30 cepts of a DOLSIB and an Extended FSM (EFSM). The FSM
functions used in the client and server sides. The horizontal        2400 includes the two states S{A, B} and the two transitions
lines represent the threads in the operating system. Different       T (tl, t2}. A transition t consists of an initial state ts, an event
threads have different line patterns. There are two threads          e that triggers an action a, and a final state if. The transitions
shown on the client side (left) and there are three on the server    can be described as tl=(A, X,Y, B) and t2(B, U, V, A). The
side (right). Also, the dotted "write" line represents TCP 35 transition ti from state A to state B is triggered by an event X
traffic between the two machines (client and server).                and causes an action Y. Likewise, the transition t2 from state
Distributed Online Service Information Bases                         B to state A is triggered by an event U and causes an action V.
   Certain embodiments of the present invention may use a            If the FSM 2400 is in state A and receives any event besides
virtual information store suitable for a network. Without limi-      X, it will remain in state A. In this way. the FSM 2400
tation, a specific type of virtual information store, referred to 40 responds to valid events having predetermined transitions by
as a Dynamic Distributed Online Service Information Base             changing its state.
(dynamic DOLSIB), will be discussed in greater detail. Other            Typically a FSM has a finite set ofstates. An extendedFSM
virtual information stores are contemplated.                         does not have this limitation and may be used to provide a
   The object router may use the dynamic DOLSIB to per-              dynamic DOLSIB. Here the states are not finite, per se: there
form muting. For example, the object router may access the 45 exists a number of finite state "blocks" on the diagram. but
dynamic DOLSIB to obtain information about distributed               there are also global variables that may store values that take
software objects that has been recorded in the i)OLSII3. Typi-       on an infinite number of possibilities. This adds another
cally, the enterprise will be customized for each merchant.          dimension to the FSM and makes the whole system have an
The following sections cover an overview of the architecture         infinite number of "states".
for the DOLSIB and a uniform interface that allows the ser- 50          FIG. 25 conceptually illustrates a counter implemented
vice provider to provide a customized interface for the busi-        with an EFSM. The counter can count to any desired number
ness objects using a simple Extended Finite State Machine            using a single idle or initial state. The counter simply outputs
(EFSM) orDOLSIB language.A library is also described that            the count value and increments this value. Such a counter may
provides the core parser and interpreter for the DOLSIB. This        be expressed in a L)OLSIB language that will be further
library may also serve as the base class for business and 55 discussed elsewhere in the application. For example the
management objects that will interface with the enterprise           counter may be represented by the following code:
interface.
   Before continuing with the detailed explanation of the
present invention and various exemplary embodiments of the
                                                                                         state Idle:
present invention, it may be helpful to briefly explain some 60                          event count
terms, without limitation, that will be used in the discussion                           war value'-O:
below. These explanations are      provided  to facilitate under-                        var str-";
standing of the following text, rather than to limit the inven-                          diagram Counter:
                                                                                         Counter (Idle> {
tion. The term "state" will be used to refer to the set of values                              Idle : count ? va1ues-s -> Idle;
describing the current position of the machine if it has 65                              1

memory. The term "transition" will be used to refer to the
action and state change performed by the machine after
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                             31                                                                                 32
The code describes the counter beginning in the idle state.                                                 TABLE      1
Given the count event, the counter will increment the variable
value and output this as an action. The arrow ".fwdarw."                        Symbol Type       Evaluation
signifies that idle is the new state. Such code provides a                      diagram           current state Id
simple way for a programmer to describe the events and              5           action            value of the action; default is zero
actions of the machine.                                                         event             value of the event if current event zero otherwise
                                                                                state             non-zero ifthis is the current state.
   According to one embodiment, the Enterprise Interface                        var               an integer or string variable
State Machine (EISM) DOLSIB language may be a C-style
DOLSIB EFSM language similar to ISO's Estelle. DOLSIB
                                                                         Table 2 shows assignment actions of symbols of different
EISM is based on C style conventions, while Estelle is a
                                                                         types when entered into the DOLSIB EISM. The action may
Pascal language extension. The ISO Estelle language is
                                                                         be different from the action of the symbols within a program.
defined as a superset of the Pascal language and fits nicely
,,,;st, *h               T'VThI eTra t1ek(
                   Th.,. £.fl7L.flL
                   £ La.             Lfl..flfl
                                                   .,
                                                  £5 5IiLflJOI LU
                                                                                                           TABLE 2
that it conforms to the syntax of C. The DOLSIB EISM
language may provide for more than one state machine dia-                Symbol Type      Assignment Action
gram (and thus, more than one state machine) to be described             diag             dhaages the current state of this diagram to the assigned
and operated by the same script. The state machine may be                                 state
interpreted allowing for bytecode compilation into a stack               action           sets the action value
                                                                         event             ets th event value
machine opcode. The stack-based machine allows for a                20
simple implementation and compilation of the parsed state                var              sets the variable
machines. This also allows for other lanminees in the liimre.
For example, a language other than C may be interfaced. The
                                                                         The above assignments within the DOLSIB EISM program
programming language includes a simple ASCII English lan-                are valid withthe possible exception of state. The state maybe
guage equivalent of the C-style convention.                         25
                                                                         a read-only condition of the current system. In which case the
   FIG. 26 conceptually illustrates a scheme, files and pro-             programmer may change the state of the diagram within
grams for a state machine 2600 to create an intermediate                 DOLSIB EISM using the diagram assignment.
bytecode that is interpreted by the stack machine, according                Each declared symbol may have an associated integer ID.
to one embodiment. An ASCII input file 2610 is written in a              The integer ID may begin with zero (for the variable "nil").
DOLSIB EISM language and passed offto a parser 2620. The            30   This variable is usually declared and maybe used as an event
parser 2620 converts the input file 2610 into byte code 2630,            to trigger transitions. Other symbols may be assigned begin-
2640. The byte code 2630 can then be used to nra the stack               ning with one and incremented according to the order they are
                                                                         declared in the program. An integer may be assigned to each
machine 2650 as a state machine or the byte code 2640 may
                                                                         element of a vector. Table 3 illustrates IDs for the previous
inputadump program 2660 that creates anASCIT output 2670                 example:
object file dump of the instructions and the symbol table.
   The parser 2620 may take the inputASCil 2610, parse it for                                              TABLE 3
syntax and syntactical errors, and then create a stack machine
instruction set 2630 for the resulting state machine 2650. The                                Name                         Type ID
conversion of the state machine diagram into a stack machine                                  Nil                          intO
saves time for the run time interpreter and does the prepro-                                  xyz[01                       state 1
cessing of the symbol table.                                                                  xyz[lJ                       state 2
                                                                                              xyz(2]                       state 3
   The interpreter 2650 may be a simple stack machine that                                    xyz[3l                       state 4
receives input events and sends out actions. The stack                                        teat                         event 5
machine 2650 contains a very limited set of instructions to         45                        a                            vart
                                                                                              v                            var7
perform the basic arithmetic and conditional chores at run                                    z                            vart
time.                                                                                         a                            var9
   The dump program 2660 is a debugging tool. The program                                     b                            var 10
2660 may prints out the symbol table and the instructions for
each stack op code.                                                         An exemplary program is presented below to further illus-
   Symbols maybe used. The symbols may have names that                   trate possible statements in a DOLSJI3 EISM related pro-
include an alphanumeric string ([A-Za-zJ[A-Za-z.)9]5) and                gram. The symbols in the program may be declared as one of
the name typically should not that match that of a keyword.              the five types followed by at least one diagram. Consider the
Depending on the implementation the names may be case                    simple state diagram that counts the number of incoming
sensitive. Symbols may be declared before they are used and
                                                                    5    count events and dumps the count upon receiving the event
                                                                         dump. This state diagram could be written in DOLSIB EISM
before the first diagram body. Symbols of the same type may
                                                                         as:
be declared within the same command. Symbols may be
scalar or vector and the length of a vector may be declared
with the symbol type. For example, valid declarations may                                         state Idle:
                                                                                                  event count.dump:
be: (a) state xy44]; (b)event test; (c)varx=0,y=l ,z=4; (d) var                                   var ntJ:
a="apple",b="banana". There may be different types of sym-                                        diagram Counter
bols. For example, there may be the following five types:                                         Counter (Idle)
                                                                                                  Idle count? n++ -> Idle
diagram, action, event, state, var. Symbols may have a value
                                                                                                   dump? at I, n0 -> Idle;
when evaluated and have a particular function used as an            65
input to the DOLSIB BISM. Table I shows evaluations based
on type of symbol.
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                                        33                                                                                 34
All the symbols are declared. The state diagram is named                                                              -continued
"Counter", and the line Counter (Idle) {begins the diagram
                                                                                            logop        AND OR
definition. The state Idle is placed in parentheses to show that
                                                                                                               I




                                                                                            aithop      :+I-I/%i..
it is the initial state. In this case if no state is declared as the                        asgo        :lvalueASSlGN expr
default, the first state in the state diagram is considered the                     5                     Ivalue ++
                                                                                                          ++ Ivalue
default.                                                                                                  Ivalue --
    The state transition may be described in many different                                               -- Ivalue
formats. The one shown above would have the following                                       conat       :"."   l0-9ltO---9l
meaning: If in suite Idle and event count is seen, then incre-                              ivalue       syrnbol I symbol jexpel
ment n and go back to state Idle else if event dwnp is seen,                        10
then output n and n to zero, then go back to state Idle. This                            Core Business Object or Management Object
state transition may also be written in DOLSIB EISM as:                                     The core business or management object that is used to
    if Idle and count then n++ enter Idle                                                derive other objects may have embedded in it the FSM tobe
    else dump then no. n=( ), m=O enter Idle;
                                                                                         able to parse the EISM DOLSIBwith diagrams. Business and
This form may be more understandable. In either case, the
                                                                                         management objects may interface with a back-end channel
keyword "if' is optional. Table 4 shows keywords and sym-
bols that are interchangeable, according to one embodiment.                              to communicate with enterprise computer systems. The core
                                                                                         business or management object may be remotely accessible
                                                                                         and may be integrated with the object muter Further, it may
                                     TABLE 4
                                                                                    20   have interfaces to the enterprise computer systems and to the
    Symbol                Meaning                                                        FSM. FIG. 27 shows code describing a CoreBusinessObject
     with and             introduces fist axe
                                                                                         object router, according to one embodiment.
      then                follows are conditional exprcssin                              Example BankApplication (BankAccount)
    ->begin enter         signifies which state to enter if conditional is tme              A service provider may customize the back end commum-
     else elsewith        introduces next arc                                       25   cation channel for their intended application and service
                                                                                         offerings. In one case the invention is implemented in a way
A variation on the command structure is the ability to specifS'                          that allows for these different capabilities and customizable
outputs without the parentheses. The normal meaning of n                                 features. Consider a simple bank account class that has a
would be to output an action that has an ID of a and a value                             balance query and withdraw and deposit methods to change
equal ton. For example, one coukl ipecify n(5) to set the value                     30
                                                                                         the account balance:
of n to five and then output n. One may also explicitly output
a symbol as: Idle with dump then enter Idle output n: instead
of the first arc. Notice, that the two proceeding statements
may be inteihangeable.                                                                                     class BankAccount {
   According to one embodiment, thegrammar may be speci-                            35                             intbalanceOconst:
                                                                                                                   void withdraw(int amount);
fied similar to BNF form. For example, brackets"[1" may                                                            void deposit(int amount);
surround optional items, a vertical bar may be used to show
alternatives, and bold symbols may be actual keywords. Con-
sider the following exemplary form:
                                                                                         Given this object, a programmer may query the account bal-
                                                                                         ance from within the object-oriented C++ environment. How-
                                                                                         ever, the actual mechanics of talking to the back endmay vary
    program          :deel diagrams                                                      from merchant to merchant. litis may be handled using an
    decis            :decl deels decl                                                    intermediate machine to connect with the back-end to corn-
    dccl             aype defs;
    type             :dlagrauifstateleventllatlsctlon                                    municate using a name-value pair protocol that is modifiable.
    den              :defklefs,def                                                       Consider two banks 81 and B2. Bi may query the back-end
    def              :Ivalue Ivalue const
                                 r
                                                                                         for a balance of an account by sending the account number
    diagrams         :diagram diagrams diagram
    diagram          :diagram_init {lines}                                               and then the word "balance:query". More specifically. this
    diagram.jnit :diagram_symbol (statc_symbol)t diagrsnisymbol                          may be done as follows: (I) send("account_number"), (2)
    lines            :line lines line
                             I                                                      50   send(<eid>), (3) send("balance:query"). (4) expect
    line              :1111 states with ends;
    with                 wlthandI:                                                       ("amount"), (5) expect(amount), and (6) return amount.
    states           state_symbol states, state_symbol                                      132 may need confirmation that the account number is set
    ends                 cmd I cmds else cmd                                             and then send the "balance" query. More specifically: (I)
    else             :elsewkth else
    cmd
                                        I


                     :expxs then acts begin state_symbol [output outsl
                                                                                         send("account-number"), (2) send(<account number>), (3)
    then             :then?                                                              expect(status), (4) send("balance"), (5) expect(amount), and
    acts             :actlacts,act                                                       (6) return amount. Bank 82 has more operations and may
    act              :lvalue ([expr})
                                                                                         have more error conditions,
                     Iexpr
    begin            :begln enter                                                           FIG. 28 conceptually illustrates an exemplary DOLSIB
    outs             :lvatue outs, Ivalue                                                FSM diagram for balance for bank Dl, according to one
    expxs            :const state_symbol        & symbol    I   Ivalue sagn              embodiment. These may be used to configure the BankAc-
                       (expr)
                       espr cmpop expr                                                   count class. The diagram shows B! being more complicated
                       expr logop expr                                                   due to added error transitions. The state diagram may be
                     I expr atthop expr
                                                                                         viewed as an expect script fora modem that sends out requests
                       NOT expr
                                                                                         and expects back responses matching a particular string.
                     I


                       - cxpr                                                       65
    cmpop            :LTILEIEQINEIGTIGE                                                  DOLSIB EISM language corresponding to the diagram may
                                                                                         be as follows:
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                                      35                                                                             36
                                                                              variables may be used to store the other dimension of state.
                                                                              This is shown with the second bank example using the vari-
i the following are automatically declared by DOLSII3 interface:
                      State Idle;)! default initial state
                                                                              able "step".
     state Expect;!) waiting on receive        expectvaluø                       FIG. 30 conceptually illustrates an exemplary DOLSIB
     state Found; //default state after receiving expect_value                FSM diagram for balance for bank B2, according to one
     state Exrorr I/default error state
     event receive; i/indicates the enterprise interface has data
                                                                              embodiment. The diagram produces a different "name-value"
     event timeout ii indicates the timer haa expired                         pair protocol. DOLSIB EISM language correponding to the
     event method; // indicates a method call has started                     diagram may be as follows:
     action icturic i/returns fiom the method call
     action send; //sends data to the enterprise interface              III
     action throw: ii returns from the method call with a throw
     var max_wait"lOOO; ii the default timer value
                                                                                     diagram Balance;
     var eid'.'O: lithe enterprise id
     var expecte&yalue";/i waited value
                                                                                     iitwosteps:
                                                                                     111) wait for Status.
                                                                                     // 2) wait for "balance".
  diagram Balance;
  l3alanceUdle) {
                                                                        15           varstep1;
     Error tme? -> Idle                                                              Balancetidle)
                                                                                         Error: tme? Step -      1   -> Idle;
     Idle
                                                                                          Idle
          method     'balance"?
                                                                                                 method     "balance"?
                  timeout(maxwait),
                                                                                                  timeout(max_wait),
                  send(eid),
                                                                        20                        send("account_number")
                  send('balance:queiy")
                                                                                                  send(eid),
                  expected_value "amount"
                                                                                                  expected_value 0
                 Expect;
                                                                                             -> Expect;
     Expect
          receive    - expected_value?
                  nmeout(max_wait)
                                                                                          Found
                                                                                              step     I ?
                                                                                                expected value "balance",
               -> Found
                                                                                                step -1
               receive expected_value?
                                                                                             .). Expect
                   throwC'expectcd" ..expccted. value
             .."but received"
                                                                                              step   - 2 && receive?
                                                                                                ivturn(receive),
                  .jeceive
              -> Error                                                                          step
                                                                                            -> Idle
              timeout?                                                  30
                                                                                              timeout?
                  throw('timeout while waiting for" ..expected_value)
                                                                                                     thmw('timeout while waiting balance"),
              -> Error;
                                                                                             -> Error;
     Found
              receive?
                  retuni(receive)
              ->Idle
              timeout?                                            Accordingly, the two bank examples illustrate how different
                  throw("timeout while waiting value")            service providers having different back-ends entelprlse inter-
              -> Idle;                                            actions may use the same business or management object.
                                                                     The bank object class structure has been shown and
                                                                  described elsewhere. However, since this may be derived off
                                                               4°
   FIG. 29 conceptually illustrates a diagram including           of the CoreBusinessObject or Management Object the
expect, found, and error states. As discussed, the service        BankAccounl object may need an object router definition. An
provider may interact with and expect something from the          exemplary definition assuming balance, withdraw and
enterpnse interface. Rather than creating a new state for each    deposit methods is as follows:
such "expect" string, a pradeflned set of states "Expect", 46        beginclass BankAccount CoreBusinessObject
"Found" and "Error" may be used. The state transitions               begindata
defined are for the "Expect" state. A programmer may pro-            enddata
vide the arcs for the Error and Found states. The defined arcs       beginmethod
of the Expect state may have a program similar to the one            method const mt balance
shown in the example for bank B!:                              50    method void deposit {int amount]'
                                                                     method void withdraw {int amount]'
                                                                     endmethod
                                                                     endclass
Expect                                                            Hooks may be added to provide method connections to the
     receive - expectedvalue?
              timcout(max_wait)                                   FSM for this business object:
               > Found
          receive '- expected_value?
                   throw("expected" .. expected_value
              .."but received"                                                               tnt ltankAccountSkel::balance( ) const {
                       receive)                                                                    fsm_event("balanee","");
              -> I/nor                                                  60                         RWCstring result fsm_result( I:
      I   timeout?                                                                                 return atoiresnit);
                  throw("iimeout while waiting for"., expected_value)
             -> Error,

                                                                              The balance method calls the FSM event "balance" which
 Using the expect    for more than one string (more than one
                         state                                          65    starts thediagram transition from Idleto Expect (see FIG. 29).
 expected response) may include making use of the                             Typically, since results in the FSM are performed using
 "extended" nature of the DOLSIB EFSM. Namely, global                         strings, the string return type will be converted to an integer.
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                                                                        Exemplary Computer Arehitecture
                                                                           As discussed herein, a "system" or "computer system".
          void BankAccountSkcl:withdraw(int amount)                     such as certain client access devices and a system to control a
               char a[201;
               sprintf(a,"%d".amount):                                  transaction involving multiple service providers, may be an
               tam eent('withdraw"A):                             s     apparatus including hardware and/or software for processing
                fsm_resultO;                                            data. The system may include, but is not limited to, a com-
                                                                        puter (e.g., portable, laptop, desktop, server, mainframe, etc.),
          void BankAccountSket::deposit(int amount) {
               char at2ol;                                              hard copy equipment (e.g., optical disk burner, printer, plot-
               sprintf(a."%d",amount);                                  ter, fax machine. etc.), and the like.
              fsmevent("deposit".a);                              10       A computer system 3300 representing an exemplary work-
              fsm_resuIt):                                              station, host, or server in which features of the present inven-
                                                                        tion maybe implemented will now be described with refer-
                                                                        ence to FIG. 33. The computer system 3300 represents one
   These examples show that the method fsm_result( ) is                 possible computer system for implementing embodiments of
called even when not expecting a result. The reason for this is 15      the present invention, however other computer systems and
twofold: (1) the thread will block until result is actually called      variations ofthe computer system 3300 are also possible. The
inside of the FSM, and (2) an error result will throw an                computer system 3300 comprises a bus or other communica-
exception within this fsmjesult.                                        tion means 3301 for communicating information, and a pro-
   FIG. 31 conceptually illustrates operation ofa system 3100           cessing means such as processor 3302 coupled with the bus
including a thin client, a hub, and node, according to one 20           3301 for processing information. The computer system 3300
embodiment. A thin client 3102 (e.g., a client access device)           further comprises a random access memory (AM) or other
accesses abub 3110. Thehub3llO includes a userconnection                dynamic storage device 3304 (referred to as main memory),
server 3112 that connects with a user name sewer 3114. The              coupled to the bus 3301 for storing information and instruc-
                                                                        tions to be executed by the processor 3302. The main memory
user name sewer 3114 connects with a specified node, in this
                                                                   25   3304 also may be used for storing temporary variables or
case node 3150 corresponding to "Alpine" bank. In particulat
                                                                        other intermediate information during execution of instnic-
the connection may include the hub 3110 communicating                   lions by the processor 3302. In one embodiment, the main
  ualit'ing identifiers (e.g., <host>, <port>) to the node 3150.        memory 3304 may be used for storing the operating system,
   The node 3150 includes a name server 3152 that after                 software objects, data structures, coded instructions, rule sets,
connection accesses a business object 3156. The business 30             and other types of data. The computer system 3300 also
object 3156 includes an EFSM 3158 to access a DOLSIB                    comprises a read only memory (ROM) and other static stor-
3162 via a program 3160. The DOLSIB 3162 allows identi-                 age devices 3306 coupled to the bus 3301 for storing static
fication of an object 3164. The program 3160 then is able to            information and instructions for the processor 3302, such as
determine an appropriate "abc" account skeleton object 3166.            the BIOS.A data storage device 3307 such as a magnetic disk,
Based on the qualifiers an object muter server 3168 commu- 35           zip, or optical disc and its corresponding drive may also be
nicates via an object muter layer 3170 with a remote client             coupled to the computer system 3300 for storing information
3116 that uses a bank stub object 3118 to perform remote                and instructions.
method execution of bank methods of the node 3150. hi                      The computer system 3300 may also be coupled via the bus
particular, an "abc" account stub 3120 may allow determina-             3301 to a display device 3321, such as a cathode ray tube
tion of an account balance including using a channel server 40          (CRT) or Liquid Crystal Display (LCD), for displaying infor-
3172 to interface with a bock office 3174. A service manage-            mation to an end user. Typically, a data input device 3322,
ment station 3122 and a merchant management station 3124                such as a keyboard or other alphanumeric input device includ-
may perform Events, Configuration, Accounting, Perifor-                 ing alphanumeric and other keys, may be coupled to the bus
mance, and Security (ECAPS) processing for the hub and the              3301 for communicating information and command selec-
                                                                   45   tions to the processor 3302. Another type of user input device
node, respectively.
                                                                        is a cursor control device 3323. such as a mouse, a trackball,
    FIG. 32 conceptually illustrates architecture 3200, accord-
                                                                        or cursor direction keys for communicating direction infor-
ing to one embodiment to provide management services, such
                                                                        mation and command selections to the processor 3302 and for
as ECAPS services, to hub and a node, A client access device            controlling cursor movement on the display 3321.
3205 accesses a hub 3210 via a connection 3215 that may so                  A communication device 3325 is also coupled to the bus
support a name-value pair. As shown, the hub 3210 may                   3301. Depending upon the particular implementation, the
include a number of modules including an object router 3215             communication device 3325 may include a modem, a net-
and an object protocol interface 3220 to perform object rout-           work interface card, or other well-known interface devices,
ing, and a merchant management agent 3225 and a service                 such as those used for coupling to Ethernet, token ring, or
management agent 3230 to respectively correspond with a 55              other types of physical attachment for purposes of providing
merchant management station 3240 and a service manage-                  a communication link to support a local or wide area network,
ment station 3260.                                                       for example. In any event, in this manner, the computer sys-
    A node 3270 may also comprise a number of components                tem 3300 may be coupled to a number ofclients or servers via
as shown, and as discussed elsewhere in the detailed discus-            a conventional network infrastructure, such as a company's
 sion, including an object protocol interface 3275 to assist with so     intranet, an extranet, or the Internet, for example.
object routing, and a merchant management agent 3280 and a                  Embodiments of the invention are not limited to any par-
 service management agent 3285 to respectively interface with           ticular computer system or environment. Rather, embodi-
 the merchant management station 3240 and the service man-               ments may be used on any stand alone, distributed, net-
 agement station 3260. Another node 3290 may be similarly                worked, or other type of computer system. For example,
 connected with the stations 3240 and 3260 to support man- 65            embodiments may be used on one or more computers com-
 agement that is desired for the intended application (e.g.,             patible with NT, Linux, Wmdows, Windows NT. Macintosh.
 ECAPS).                                                                 any variation of Unix, or others. Embodiments may support
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                              39                                                                    40
ActiveX Controls. Java. web browsers such as Internet                     2.Thesystemofclaiml,whereintheswitchingcomponent
Explorer, and standard Web server suites such as Netscapes'            in the Web application switches the user back fromthe second
SuiteSpot, FastTrack, Microsoft's Normandy, Microsoft's                server to the first server when the account is settled.
Commercial Internet System, and others,                                   3. The system of claim 1, wherein the context manager also
   The present invention includes various operations, as 5 provides web advertising.
described above. The operations of the present invention may              4. The system of claim 1, further comprising a routine in
be performed by hardware components or may be embodied                 the Web application that redirects a user to a web page sup-
in machine-executable instructions, which may be used to               ported by a Web merchant running on athinl server that offers
                                                                       additional possible Web transactions not visible on a web
cause a general-purpose or special-purpose processor or logic
                                                                   10 page on the first server.
circuits programmed with the instructions to perform the
                                                                          5. The system of claim 1, further comprising a component
operations. The present invention may be provided as a com-
                                                                       in the Web application that monitors statistics and provides
puter-program product that may include a machine-readable              information about a Web merchant based on past Web trans-
medium having stored thereon instructions that may be used             actions from at least one Web application by that Web mer-
to program a computer (or other electronic devices) to per- is chant.
form a process according to the present invention, The                    6. The system of claim 1, further comprising a component
machine-readable medium may include, bulls not limited to,             in the Web application that monitors statistics and provides
floppy diskettes, optical disks, CD-RUMs, and magneto-op-              information about a user based on past Web transactions from
tical disks, ROMs. RAMs. EPROMs, EEPROMs, magnet or                    at least one Web application by that user.
optical cards, flash memory, or other type of media or 20                  7. The system of claim 1, wherein the user transaction
machine-readable medium suitable for storing electronic                manager allows the user to enter into a second Web transac-
instructions. Moreover, the present invention may also be              tion from at least one Web application on a third web page,
downloaded as a computer program product, wherein the                  and wherein the user simultaneously settles the account for
program may be transferred from a remote computer to a                 both the first and second Web transactions from at least one
requesting computer by way of data signals embodied in a 25 Web application.
carrier wave or other propagation medium via a communica-                  S. The system ofclaim!, furthercomprising a merchandise
tion link (e.g., a modem or network connection). Alterna-              manager in a Web application tracking a particular category
tively, the operations may be performed by a combination of            of merchandise for a particular Web user, the merchandise
hardware and software.                                                 manager sending a message to a Web user when the particular
   In conclusion, the present invention provides an approach 30 category of merchandise is available.
for controlling a network transaction involving multiple ser-              9. The system of claim 1, wherein the second web page
vice providers.                                                        contains a link to at least one other web page.
   In the foregoing specification, the invention has been                  10. A computer implemented method of permitting a real-
described with reference to specific embodiments thereof. It           time, online transaction by a user with at least one computing
will, however, be evident that various modifications and 35 device on the World Wide Web, the method comprising;
changes may be made thereto without departing from the                     presenting a first web page from a first server allowing a
broader spirit and scope of the invention. The specification                  user to choose a Web transaction from a plurality of
and drawings are, accordingly, to be regarded in an illustrative              possible Web transactions;
rather than a restrictive sense.                                           presenting a second web page allowing the user to display
                                                                   40         the second web page on the computing device and to
   What is claimed is;                                                        interactively enter into the Web transaction with a par-
   1. A real-time on-line two-way transaction system, the                     ticular Web merchant;
 system comprising;                                                        switching the user transacting from a Web application on
   a first server comprising memory and a processor;                          the first server to a payment server remote from the first
   a context manager executing on the first server supporting 45              server allowing the user to interactively settle the Web
      a first web page on the World Wide Web, the context                     transaction in real-time, wherein the user directly com-
      manager allowing access by a user from a multi-media                    municates from a user device to the payment server; and
      device through a Web application to a plurality of pos-              allowing the user to perform the Web transaction from the
      sible Web transactions from a plurality of Web mer-                     Web application via an object router with the Web mer-
      chants:                                                      51,        chant, while providing interaction and management
   a usertnrnsaction manager in the Web application allowing                  between the first server and the payment server.
      the user to enter into a first transaction using a second            11. The method of claim 10, further comprising switching
      web page;                                                        the user from a Web application back from the payment server
   an account settling manager in the Web application allow-           to the first server when the Web transaction is settled.
      ing the user to communicate with a payment program 55                12. The method of claim 10, further comprising presenting
      running on a second server remote from the first server,         a secondweb page allowing the user to interactively enter into
      wherein the user can settle an account relating to the first     a second Web transaction with a different particular Web
      transaction;                                                     merchant, and wherein the user interactively and simulta-
   a switching component in the Web application that tempo-            neously settles both Web transactions from at least one Web
      nirily switches the user from the first server to the second to application.
      server to allow settling of the account, wherein the user             13. The method ofclaim 10, furthercomprising noti1'ing a
      directly communicates with the payment program on the            Web user performing a Web transaction from a Web applica-
       second server via an object muter. the object router            tion when a particular item of merchandise is available.
      allowing the user to perform a real-time transaction from            14. The method of claim 10, wherein the second web page
      the Web application with at least one of the Web mer- 65 contains a link to at least one other web page.
      chants while providing interaction and management                    15. The method of claim 10, wherein the first web page
       between the first and second servers.                           contains a link to at least one other web page.
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   16. A system for purchasing a vehicle on the World Wide                 user directly communicates from a user device to the
Web, the system comprising:                                                transaction settlement service; and
   a first server comprising memory and a processor;                    an object router module that allows the user to perform the
   a transaction manager system in a Web application running               real-timeWeb transaction from the Web application with
       on the first server presenting a first web page on the 5            the Web merchant, while providing interaction and man-
       World Wide Web allowing a buyer to choose a category                agement between the first server and the second server.
       of vehicle:                                                      23. The system ofclaim 22, further comprising a module in
   a merchandise presentation system in the Web application          the Web application providing information concerning the
       for presenting a plurality of vehicles for sale in the        Web merchant to the Web user.
                                                                  10    24. The system ofclaim 22, further comprising a module in
       category on a second web page:
                                                                     the Web application providing information concerning the
   a switching component in the Web application providing
                                                                     Web user to the Web merchant.
       content to the buyer from a financing service, the content
                                                                        25. The system of claim 22, wherein an advertisement is
       being locatedon a server remote from the first server, the    placed on the first web page.
       switching component in the Web application routing a             26. The system of claim 22, wherein an advertisement is
       quote from the financing service to the buyer in real-        placed on the Web merchant web page.
       time, the buyer directly communicating from a user               27. The system of claim 22, wherein the transaction man-
       device to the financing service;                              ager switches the Web user from a Web transaction from a
   a sales component in the Web application allowing the             Web application ona web page fora single product to the Web
       buyer to purchase the particular vehicle from the seller 20 merchant web page.
       and obtain financing from the financing service in a             28. The system of claim 22, wherein the first web page
       real-time transaction; and                                    contains a link to the Web merchant web page.
   a communications component that includes an object                   29. The system of claim 22, wherein the content manager
       router allowing the buyer to perform the real-time trans-     allows the user to select a second category of merchandise
       action from the Web application, while providing inter- 25 and the transaction manager allows the user to enter into a
       action and management between the first server and the        real-time Web transaction from a Web application for a sec-
       remote server.                                                ond particular piece of merchandise different from the first
   17. The system of claim 16, wherein the financing service         particular piece of merchandise. and wherein the settlement
from a Web application provides real-time online approval            service allows the user to simultaneously settle an account for
over a service network atop the Web for the financing.            30 both the first and second particular piece of merchandise.
   1& The system of claim 16, wherein the switching com-                30. The system of claim 22, further comprising a merchan-
ponent in a Web application provides the financing service           dise manager in a Web application for tracking a particular
with information concerning the buyer.                               category of merchandise for a particular Web user, the mer-
   19. The system of claim 16, further comprising a compo-           chandise manager sending a message to a Web user when the
nent in the Web application that monitors statistics and pro- 35 particular category of merchandise is available.
vides information about a Web merchant based on past Web                31. A real-time online, two-way transaction system, oper-
transactions from at least one Web application by that Web           ating on the World Wide Web, the system comprising:
merchant.                                                               a first server comprising memory and a processor;
   20. The system of claim 16, further comprising a compo-              a content manager executing on the first server supporting
nent in a Web application that monitors statistics and provides 40          a first web page on the World Wide Web, the content
information about a user based on past Web transactions from                manager in a Web application on a web page allowing
at least one Web application by that user.                                  access by a user to a plurality of possible Web transac-
   21. The system of claim 16. wherein the third web page                   tions from a plurality of Web merchants;
contains a link to at least one other web page.                         a user transaction manager allowing the user to enter into a
   22. A system for creating an online Web merchant, the 45                 first real-time Web transaction using a second web page,
system comprising:                                                          the user transaction manager in the Web application also
   a first server comprising memory and a processor;                        allowing the user to enter into a second real-time Web
   a content manager running on the first web server present-               transaction using a third web page:
       ing a web page on the World Wide Web and allowing a              an account settling manager in the Web application allow-
       user to choose a category of services in a Web applies- so           ing the user to communicate with a payment program
       tion on the web page from a plurality of categories. the             running on a second server remote from the first server.
       content manager also allowing a Web merchant to                      wherein the user can settle an account relating to the first
       present a plurality of merchandise selections on a Web               Web transaction and the second Web transaction simul-
       merchant web page, wherein the merchandise selections                taneously;
       belong to at least one of said categories, the content 55         a switching component in the Web application that tempo-
       manager also allowing a user to select one of the catego-            rarily switches the user from the first server to the second
       ries and switching the user to the merchant web page                 server to allow settling of the account in real-time,
       upon selection of a particular category from the Web                 wherein the user communicates directly from a user
       application;                                                         device to the payment program: and
   a transaction manager in the Web application allowing the 60 an object router module allowing the user to perform the
       user to enter into a real-time Web transaction with the              real-time Web transactions from the Web application
       Web merchant with respect to a first particular piece of             with at least one of the Web merchants while providing
       merchandise, wherein the transaction manager switches                interaction and management between the first server and
       the user to content from a web page provided by a                    the second server.
       transaction settlement service running on a second 65             32. The system of claim 31, wherein the switching com-
       server remote from the first server, wherein the user can     ponent inthe Web application switches the user back from the
        settle the Web transaction in real-time, and wherein the      second server to the first server when the account is settled.
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   33. The system of claim 31, whereinthe content managerin         37. The system ofclaim 31, further comprising a module in
the Web application also provides web advertising.               the Web application allowing the Web user to receive infor-
   34. The system of claim 31, further comprising a routine in   mation concerning the Web merchant.
the Web application that redirects a user to a web page sup-        3$. The system ofclaim 31, further comprising a module in
ported by a Web merchant running ona third serverthat offers     the Web application allowing the Web merchant to receive
additional possible Web transactions not visible on a web        information concerning the Web user.
page on the first server.                                           39. The system of claim 31, further comprising a merchan-
   35. The system of claim 31, further comprising a compo-       dise manager in a Web application tracking a particular cat-
nent ma Web application that monitors statistics and provides    egory of merchandise for a particular Web user, the merchan-
information about a Web merchant based on past Web trans-        dise manager sending a message to a Web user when the
actions from at least one Web application by that Web mer-
                                                                 particular category of merchandise is available.
chant.
                                                                    40. The system of claim 31, wherein either the second or
   36. The system of claim 31, further comprising a compo-
                                                                 third web page contains a link to some other web page.
nent ina Web application that monitors statistics and provides
information about a Web userbased on past Web transactions
from at least one Web application by that Web user.                                   *   *   *    *   *
                                       Case 6:19-cv-00171-ADA Document 1 Filed 02/26/19 Page 71 of 71
JS44 (Rev.02/19)
                                                                                     CIVIL COVER ShEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pIeadins or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September1974, is required for the use of the Clerk of Court for the
purposeot mitsating the civil docket sheet. (SEE INSTRUCTiONSONNEXTPAGE OF THIS FORM)
I. (a) PLAINTIFFS
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      (b)   County of Residence of First Listed Plaintiff                                                   C I)              County of Residence of First Listed Defendant                                            CIX' V            V       'Tx.
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      (c) Attorne         (Firm Name, Address, and Telephone Number)
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C)    I   U.S. Government                      3    Federal Question                                                                                PTF         DEF                                          PTF       DE1
            Plaintiff                                 (U.S. Government Not a Party)                              Citizen   of This State            C)   I      C)     1   Incorporated orPrincipsl Place      C) 4     Cl 4
                                                                                                                                                                                of Business In This State
C) 2      U.S. Government                 C)   4    Diversity                                                    Citizen of Another State           C)   2      C)     2   Incorporated and Principal Place                     Cl 5          C) 5
             Defendant                                (Indicate Citizenship of Parties in Item HI)                                                                            of Busmess In Another State

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C) 130 Miller Act                   315 Airplane Product
                                        Cl                                              Product Liability        C)   690 Other                                      28 USC 157                                3729(a))
C) 140 Negotiable Instrument            Liability                          C)      367 Health Care!                                                                                                   C)   400 State Reapportionment
Cl 150 Recovety of Overpayment
       & Enforcement of Judgment
                                 Cl 320 Assault, Libel &                               Pharmaceutical                                                                           'RLI8:                 )   410 Antitrust
                                        Slander                                        Personal Injury                                                   C)j0 Copyrights                              Cl   430 Banks and Banking
Cl 151 Medicare Act              Cl 330 Federal Employers'                             Product Liability                                                  ç830 Patent                                 C)   450 Commerce
Cl 152 Recovery of Defaulted            Liability                          C)      368 Asbestos Personal                                                 CI   835 Patent - Abbreviated                Cl   460 Deportation
       Student Loans             C) 340 Marine                                          Injury Product                                                           New Drug Application                 C)   470 Racketeer Influenced and
       (Excludes Veterans)       0345 Macme Product                                     Liability                                                        C)   840 Trademark                                    Comipt Organizations
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                                                                           C) 370 OtherFraud
                                                                                                                                                                                                       ]   480 Consumer Credit
                                        C)                                                                       Cl 710 FairLaborStandsrds               C) 861 IllA(1395fl)                          C)   485 TelephoneConsumer
C) 160   Stockholders' Suits            Cl 355   Motor Vehicle             Cl 371 Truth in Lending                       Act                             C) 862 Black Lung (923)                               Protoction Act
Cl   190 Other Contract                          Product Liability         Cl 380 Other Personal                 C) 720 Labor!Management                 Cl 863 DIWC/DIWW (405(g))                    Cl   490 Cabl&Sat TV
Cl   195 Contract Product Liability     C)   360 Other Personal                       Property Damage                   Relations                        Cl 864 SSIJ) Title XVI                       Cl   850 Secusities/Commoditie/
C)   196 Franchise                                 Isunj                   Cl 385 Property Damage                C) 740 Railway Labor Act                Cl 865 RSI (405(g))                                   Exchange
                                        C)   362 Personal Injury -                    Product Liability          Cl 751 Family and Medical                                                            Cl   890 Other Statutory Actions
                                                 Medical Malpssetice                                                     Leave Act                                                                    Cl   891 Agricultural Acts

O 210 Land Condemnation                 0440 Other CivilRights
                                                                                                                 C) 790 Other Labor Litigation                EEThXStT.                               C)   893 Environmental Matters
                                                                                   Habeas Corpus:                Cl 791 Employee Retirement              C)   870 Taxes (U.S. Plaintiff               C)   895 Freedom of lnfbnnation
Cl 220 Foreclosure                      C) 441 Voting                    463 Alien Detainee
                                                                           C)                                           Income Security Act                       or Defendant)                                Act
Cl 230 Rent Lease & Ejectment           C) 442 Employment             C) 510 Motions to Vacate                                                           C)   871 IRSThird Party                      C)   896 Arbitration
Cl 240 Torts to Land                    C) 443 Housing!                      Sentence                                                                              26 USC 7609                        0    899 Administrative Procedure
C) 245 Tort Product Liability                  Accommodations         C) 530 General                                                                                                                           ActiReview or Appeal of
0  290 All Other Real Property          0445 Amer. w/Disabilities - Cl 535 Death Penalty                                   1MGATN                                                                              Agency Decision
                                               Employment                Other:
                                        Cl 446 Amer. w!Disabilities - C) 540 Mandamus & Other
                                                                                                                 Cl   462 Naturalization Application                                                  0    950 Constitutionality of
                                                                                                                 C)   465 Other Immigration                                                                    State Statutes
                                               Other                  C) 550 Civil Rights                                 Actions
                                        0448 Education                Cl 555 Prison Condition
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V. ORIGIN
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VI. CAUSE OF ACTION                                                                      5      1-C-            1"I
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VII. REQUESTED IN
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VIII. RELATED CASE(S)
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